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“PAPUSJUT Sem JLYM SEYOTYM OTT
‘soinqua A, azenbs Jadoos,, 10u pue “7] ‘ouenbs 19d0045,, se Aqua ayy jo oueu
ay etuae se Buryesodo oy} ul soyeys ATMOYBISTUL AS*) 10} poredaid | yuswiss81de
Surviodo ay} Jey} JE] yl JO jtSed B se jsixe ABUL Jey} UOIsNyUOS Aue dn 1eayo
0} SIJIARPIFY sity jo asodind ayy ‘UBUD “YA ple UeYYsEpiecy Ay udemjaqg
UOHVSTU] SY] UT sapis Buryei Jo sasodind Jo0j payiwuqns Sutsq yOu st WABPYY SIUL "Z
“AYQUD YONS IO}
aiedaid | yeu} pojsonboi ueyysepsec] pues uRWITIH ‘sissay ey} Wouda1de Surjeisdo
aig pue AS jo sdpapmouy jeuosied umo Au uo paseq LABpUTY STU} yUqns
1 GAS.) OTT ‘sainqua,, olenbs Jadooa 10] AsWIO]1B OUi SB P3AIES OSTU SABY
1 HOA MAN Jo o181¢ ay} UF sorjouid Oo} pastes Burlpueis poos ut Aouioye ue wey “|

ishes pue sasodop uwioms Ajnp Suieq -bsq ‘ueumpoy “q Aayyar

 

X- - ue Te OY AL EP A OAS a le a
‘S]UBplajed

“ONT ‘ATTY TANNVHO

pue AFUVHANTD HSUSAIO ‘ASVOVE

NALNVLSNOSM ‘OTT ‘SSUNLNSA VATVO ‘OTT

OSd ‘NVAHLOU “3 Ad uaa ‘AOUAWINOD TDF ‘OTT ‘SONITIOH NOOU
JO LAVGIddV LIAINNS “SI TV4d AWSYaE ‘NVALLID CIAVG
-\surede-
“SET UTE]
(STD LZEP AD L1 ON 288D OTT ‘ATAU TANNVHO pue OTT “AVON ‘OTT

“SHANLINIA TAVNOS WAIOOD Jo Heyaq uo
pue ATjenplaipul ‘NVILHSVGUVd TAVHOIN

 

on Mo a a ee ee ee ee ee
AYOA MAN JO LOPELSIC NYSHLNOS
LYNOSD LOMLSIO SALVLS Ga LINO
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‘APIOUINY SHR UIA

ap UVGN Sui YM pousssu0s uOHeasaidai Aut Fo std0} ureut ay} Oo} Areyyoue
SBM YOM Yoweddy Suyeiodg aT] ‘soinjus, arenbs sadoog ay) payyeip |
“sACgE

O} PAllejel SE ASD 10 DTT ‘samjus, aienbs tadoop payyes pauoy Ajsnoiaaid
pey Aoy) yyy Auedurco Ajpiqey popu] ev ysnomy)] GYCN Ul IsaloqUl %op
paumo-Aypenbe pue yulof Woy) ploy 0} paljsim Uenjysepied] “AL PUB URLLNID “aaj
‘46> SULUTEWIAI oy} BuluMO Ajyenba

pue Apurof uenysepied “Al pue UeLUTID “Al pu apg SuTuMo Aus Ayoyiny
sued oy) yu ‘Aqua AVWOUINY seg B UYIM paulo] sem GWGN pauteu OTT] uy
"JOUID}UT SY} JOA Syed oynR AjOY NY

sped pjos yey) Auediuco 2 ayeisdo 0] papuaqut uBwIn “AL pur uenYsepaegd “IA
‘APIOWINY

syed payjeo Aueduioo v gym Buinsind osom Aayy yey Aunyioddo ssauisnq

@ SUILIGOUOD UBUD PARC Pue URYsEpleg jaByaijA] juasaidal 0} paureyal sem
1 ‘ELOZ JO [fey Apres ‘roumuns 912] ayy NOQE JO UT ‘SMOT{OJ $B St ptinolTyoeg ayy,
“ayRISUU

Aw Ayduats sem zy] *, azenbs sadoo5,, jou puke ASO 0} Jajal [jz ASO Joj puautaorde
Suiyeiodo ayy Buledasd ul uodn poryay | yey] spSUNOOp UONRUNIO] sUL] “Tey TUey
jou wre 7 Wom gia Ayqua ue ‘oyyq ‘orenbs rsdoog jou pues Ago Joy juaulsarsy
Suneiado oy azedaid | yeu) poysanbai uenysepseq pure ueunin “sissopy “ed

AtU UO JOLIO $ JOUSALIOS B sem, fsainjuia,A | arenbs jadoo3,, ‘Ayus ay} Jo stuBu ot}

WOOL]. SOINUSA,, PIOM JY} payiuo APUsPoapeUl pue ATUye SHU | IYI JOB] OL,

€
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~09 Se Bulasas t}Oq ‘s1oujsed yenba aq 0} papuazur jog UBHYSEpleC] IA] pue

UBLATE) “AJA SB JUD IUT oy..oads syI sem Yor “1ay]O 9} IBAO JaquUaUT uO JOABE OU
Soop pue papuByuaa Ss} JusWsAIDy BuneiedG OTT ‘sainjus, aienbs 43d009 auf ‘pT

“‘Surpueysgpimjou yt Aq punog 9q 0} JuazUT oy] YUM JUSUIDAIay

Suyeiadg O77] ‘sanjua, arenbs 1adoog ay ponsexe Ylog uenysepreq

“TA pue URL “IA “Wuauaidy suteiedO Oy] ‘sammie, auenbg radoos ay
UT SOINIUIA,, JO UOTSSIWO JUSHeApeUT at jysneo ‘aut Surpnyout ‘auo ou ‘aaaMoy ‘¢]

‘Splooes Aus UT atues Sunjayar souspucdsaz0o

Tle Jo soidoo ureyureut J ‘uorndoxe sy1 0} 101d paymMons sem uenysepiec
“TAY PUR UBUD “A JJasAty uaamjag pue Aq ques souspuodsanios ajduinyy ‘z}

‘dVGN

Ul Jso1a]UT [ends Ue pauMo URNYysepeg “aA, pue URED “ayy You ysroiuy

‘OTT saamua, aienbg ssdoog jo yuawinsop BuruaA08 df] 9q 0} URNYSEpIeEg

PUB UBUD “sissayy Aq popuayul pur jWwAlL sem papsi [ Yor qwotweady
suneiedg cyTT ‘somus, arenbs Jadoo ay} Jey] “IaAamoy “We9[9 seM YT]

“Y HQIGX] se ojoiay paxauue st jusuiaaSy

BueIadQ QT] ‘semua, asenbg Jadoos ay jo kdoo vy juaweaity guneiedg

aT FO Opt otf UE SoinjuaA,, Plow ay] spnypoul jou pip Apuayaapeut | juswealdy
duneiedg OT] ‘saimue, arenbs tadoop ay] Sunjerp ul ‘aaoqe yNoj jos sy -O]

“‘FOSBULLU-O9 & SBM LAY) JO YoRa aI pue OT] ‘Samus, arenbs

iadood jo siaquiaut yenbs se uenysepieq “yy pure HeUnINH IyAl jo diysuoneyar

ot} SZTPRULOY 0] SEM JolUaaIdy Buneiodg OTT ‘semua, arenbs iadoo0D ay 6
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Lt
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‘OS ‘NV

 

 

SSOCLEILO Sates NGISSIMAWIOD AW
ALNNOO NYSSYN NI Oalstwne
COLOBLPOULO ‘ON
WYOA MAN JO ALWIsS ‘OPIN ARWLON
NYMOU’ Yelvauva

 

 

otqng ArwjoN

ea reat,

LOZ ‘ouny jo Aeq
ig lf SIE Dur 10309 03 UIOMS

 

‘quatuystund of losfqns we

| ‘asyey Aqpryyjim ore our Aq apeut syusuiayeis dULOsaioy ay; JO Aue JI yey) oseme wie [ ‘any

ale stu Aq ope slusuio}eis Buiodaso} ay) yeyy Aintiad fo Ajpeued sapun

AJB |

‘YS JUStUATeUEW puR suONNqlTuOS

[Bydeo ‘sadejuasiad yyoid penba WIM Sioquialu Bulag yjog pue suoSeuew
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EXHIBIT A
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OOP TLRS
[sSy dg arenbg doo BAA XN ICH OONNCO THOTHOD So. fotuara Cocina] SM OpUl AA TOSOIoT AN E90" eseqddy paysooyszasy pe

‘OL SLY WAL SoUBpIODOB UL Slaqiuaja] sv AuBdWOD ay} OF payarpe Afuanbasqns
suosied SuIpNour “JUoWOsIY SITY} Ul YoNs se poryijapl suosisd 10 uosiad ay) suBOL JOQUEdT\,,,
ipnjout Vo STUs UT yf POL PUepl | “

"g Q]OITY YM aouRpiosoe ut yons se paywiodde Ayjeanbasqns
suosiod BuUIpNpoUl “JUsUBAISY SIY] UY Yons se poyuap! suosied 40 uosiad oy] suBoU soSeuRy,.

'g apOIFy Ul YO] Jos Sulugsul sy} sey juowmadeurypy

‘WHOLUSOIS Y sTyr Ag pausoAos oe sureyye
SSOYAL PUL IAABYD ayy Jo Buy. oy} uodn pauttoy Auedutos Appiqery payuaty oy) suvout  Auedwo0,,

“OUT O] SUIT] LOL] POpUdLUR se “ggG] JO PPOD oNUaASY peusoiey oy] suBaL 9p0>5,,

 
 

UO PaNnssl SBM
JOEY au, L -gueduro> aut jo wOLyeRtLI0§ ay} SUIDUApIAS ae aul éq ponsst « ‘oun ol UIE) LOA, popuawe
SB “JUOMURISUL IIIS 10 UOUCULIO JO sPROYILI99 “UONRZIURTIO JO sapoUR oy) SUBdL ,JoWeYD.,

“1QRIIBAR jou
SI pOUUNOL 1aa.uy OA, SUZ FL “OKRA qnd ILLS 10 jour 1aa4{5 J]P 44 at] Uf SUIT] OF BUH WiOI poystgnd

SB JSalapu JO ayes aun ayy sda0 sjurod siseq ¢/¢ oO} [enba opel v suBOLE JsozaqU] JO a1RY oSEq,,

"AUIl] OF BUN] WIOLE payeysau 10 pajusurayddns
“PolfIPOU “Papuallly sB pues paynooNe AyPRUISIO sv ‘jusWATTYy Sulersdy siyy suvaur pUsWaaIBy,,

“ORI OY} UT BIO] UT OUI} O} StI WO’ Joy AURdWIOD Auyiqeiry] pay] ay} suBate JOY.,

 

suOMiad Mapas
[ epiry

NVIALIO CIAVG
NVILHSVCavd TAVHOIA

79 APT YM souRpIosoR
Aueduog sty Jo {sioseuryy,, fey oy] se aAsas [peys suosiod so uosiad Surmojjoy sup

NVIALLID CIAVd
NViLHSVOaVd TAVHOIN

((, SIAQUIS]Al,.)
suosiad SUIMOL[OJ oy} Aq “]19Z “ IsNEny uo op payojua pue speul st LNAWATYHOV SIHL

AAYVNOS YddOOD
fo
LNAWSRYUDV ONILVUsdO

 

NIG
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ol

OY OU} YM aouepsogor Ur uBILeEE oO} poumber
aq Aplu AUBGUIOD oy] Se LONRULIOsUT pue spsodar yons aotyjo ediound s,Aueduiog ayy je daay Aueduro7y
ay) JO FOURNUUOD st} duULINp Sau] [eye [peYs juswodeuryy “PSUlejarepy sq OF spiosay SZ

 

‘ayeusisap
SWE O} OUT WoL ARlE juoasevuRyA, sv saoujd 10 aoxjd JoyJo yons ye sooyyo Armpuooas aavy Avul
Auedtuos oy], “aqeudisap aun 0} oun) tuoy Avett puowadeury] se oye1g oy) spisino Jo UNWIN soRd Yons
ye paqyeso] aq pfeys Auedwod ayy so sayyo pediourid oy, “AUBATOT SYT jo SoiCy fedioung Pt

 

"SHB ETB
SH sponpuos Auvduioz ay} yor Japun sowvu soyjo Aue pur aweu Aueduiog ayy asn o7 7YBLE puR jo
diysisumo aaisnjoxa ot savy yeys Auedwos ot, ‘os Op 0} afquursap 40 Auessaoou y ayeu Auedaos ot)
JO SatAnoe ay) yor UL UORDIpsiinf Aue Aq pesinbai sayworyies |e ayly pue onseNd jyeys quawadeuepy
“quibu potunsse 10 snonnoy 8 sasn Auedwog ays jf] “JOY Ot) UAL SoURpIOOOR UL jOaTaS AuUE yUaWOSEURY
SB SWE 19yjO Yous 40 awe Auvdiuo> dy} Joptin pajonpuca oq jeys Auedutod om Jo sHeye ou
‘UOUIDAISY SIU} JO SUIPRdY dU} UT YLOs jos ouTeU ayy s} AuRdtuO> oy} jo auieU ayy “TURN OZ
“SIOQUIDYA] 3U} JO ALIGR]] payuNy ayy UlepUTeUL
0] pu ssouisnq JoRsuBA Jo Ayadoid uMo Oo] sjooja AuRduIOT ay) olay seoroIpsunf pe ut Aurduos
AU|IQRIE papal, v se ssautsng jonpuod puke Awedord umo oj} Ayre] Auedurog oy) Wutad 07 Aressaoaut
SHISUMAIJSUE JOU}O JO SjusLapR]s “Sadljou “saywoLfLo yous YR Yysifqnd pue oj ‘amoexa [peys jUSWAdEULyY
‘ssoussng joesuey to Ayedoid umo Apnymey 07 Aueduiord ous puuad 0} 10 sioquayy ayy go Anpqey
PUL] ay} Joajord 0} Japso UT aqUSIApe “uoUIAdeURY Jo JuoWSpnf oy) ul ‘1o Aressaoeu sp uoneNsiSer
JO UONBOYTENb Yons pUoPXa o4) 0} ssouIsng sjousuey to Ayadoid sumo Auvdutoy aya YOM ur UOLpsunt
AUL Ul SME] JETIUHS JO SaINeIs sow SHOTS] JO pownsse JopuN pasaystSo1 10 porpyenb 3q 0} Auedure
St} asneo Tpeys pure aeig ety ul Aueduiod oyi fo souajsixa oy] anuyuOd Oo} pasnbes aq jyeys sv sduiyy pue
S}OW JOJO ORS suUOP oq O} aSNeD 10 OP PUB SBUl[LE YoNs syBUl [jeys juoWAdeURYA] “SULT ZZ

“PY sy} Ag paoitysas A[ssaidxa juayxe oy 0} }daoxe oy ay) apesiedns jyeys
JUOWMAATYy Sil} “JOY oy} JepuN suoNedIjgo JO sIyBi Aue spaye asiasayyo 10 syuswajddus ‘SOL}IPOUL 10
OV Off YIM Sjorjjuos JusuIeaIay siy) UL pourejuos SunpAue Jey Juayxe ayy OL “Oy ot) puw yuoWdUsy
SH} GM SOURpioooR Hl pourajap aq [jeys Auedwog ay] oj uoHejol ut pur as sayy? yuoMaSeuRpy
PUB SiaquayA] ay} JO SuoHesqo puke sTYysu sy] ‘JOY oy] puke jJuouseldy siyy ym souRpsoooR
ul AuRduios Apiqeyy payin Be se payriodo oq ypeys Aurdwoy ayy “yoysnp Colinas (9)

“pues yey} ul sanTiqisuodsas puv sarnp saying Cue so paaoijar <qo1ay
S} JaZHuBS1O oy) puke payafduios uaaq aaRy afqisuodsal sem JozueS10 ol} YOR|M JOJ SOAR Joyo puR
jeuoljeziuesio ayy “Auedutod atp jo yyeijaq uo pue Aq jonNpuod pue sjor se JopEYD oy) Jo Suypy ays MN
HONDSULOD UT JoziuRds0 $s AuRdWO dtf1 JO }oNpuoS pur sjoe os sidope pue soynes Aqosoy AuRdutod ayy,
‘aqeIg ayi Aq JayeyD oy) Jo souwnss! oy uodn powsoy sem Auvduiog syy “worputio, {zB}

 

“ALIOUAY ATOMS pus idipetiniIo 7 Vz

 

SIME [BUSTezesIG
COPY

“TayRYyD s Aueduog oyi poss) sey yay SIO A MON JO aye ayy suBdUT a]N)¢,,

"[ 9 UOHSag Ul YLOJ Jos Suluvaus oy} sey, saBewad1agq WOdd,,
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Jone Auvdutod Aue uo aoa 40 Auedtuod ayy jo suepge oy) yo juowadeurui oy) ui ayedionsed o1 yysu Aue
aARy [[BYS UOstad Yons Ou pue “AueduoD ay] JO suONNLISIP ayy ul ‘Aue jr ‘sIyBu s_saquuay,] Jossacapaid
ol} OF AjUO payyue aq ‘paumnboe yo1sjur ay] JO JUsIXS oY] O71 “EYS oaieiuasaidaa yesay JO sOssaoons
LNs OquiayA, YONs Jo aatjeuosoidas peda] JO JOssasons oy) YL panuqUod oq jjeYys TE ing ‘Auedwos ayy
SA OSSIP JOU [TBYS Joqurayy] B JO VONBLOOSSEP J9y}O Jo LOREpINbYy “uOMRpOsSsIp ‘Aaydnayueg “sousjaduroam Jo
LONBIE[SOp INOS “AUTIQUSIp “Yeap sy], “STWSAT WIT Udy] KaEdIOD Jo Tones op

he

 

‘JeynoLied ul gO] sposy
pue Ajjesauod juswoasy Sty) yp sauepsoogE Ur pajonpuod aq yeys AuRdutoy ay) so dn-Suipuim ayy

“PY OY} YIM aouRpioooR ul
Aurdwod oy) Jo uornypossip Jo sassap yerorpnl ew yo Agua ayy uodey, ‘woymnjpossig7 joropay (p)

“‘juatoseuRyy Jo peAosdde ayy pur (pauljop layeuraiay sv) soBvyusoiag WoO1g oy} Jo waosad
(SIS) B8O-Alpy Isea] WB Suippoy staquiayy jo puaosdde oy ounbor jjeys ydesBered siyy sapun ssaquioy
BY} JO UOISIN9P YW "OS OP OF SIAQUIdAY dt} JO uOTsi9ap ayy, “suaquiapy ays fo uolsi9ag (9)

‘Auvdiuod oy fo dit-SuipuLm aut souaiUidd 0} UOESTOAP STI JO SdHOU TBI siaquiayy] ot}
aplAoid ]fEYS JaWasBUB]AY ‘OS OP 0} LOIsIDop sJUuoUeBeURY, “yuawadpuvpy fo uoIsI2acT (q)

“SUONPBIOPISUOS PUF Ul LO UONLSIQO juaWUARd paxajap at} ajNqLsip O1 s}oojs uoUATeURyA]
{}} 40 YSRd 0] poWaAUOd asImIoyIO JO pjos usaq sARy Feys Auedwod ayy Aq poaisoa,s SUOLRISPEISHOS
pury wi oul (gq) “[pQy ur pred useq aavq yeYys uouRsgo yuoWARd pouajap ayy Cy) aeyy ou ou]
JO Jouve oy} pAUN “juatUaeddy siyy JO suOISsIAOId Joyo oY] 0} Io9fqns ‘onuTjUOD ;{RYs IE pue “pus OU ]eYs
Auvdtuod a4 JO UL} ayy UOLOpa $s juOWLOSBURY) Je UO] ‘puny UE Ved UL Jo afoym UT juOUTARd jo jdiaoar
94} (1) 40 “poindas jou Jo JayayM “uoHedifgo yuowded pasayap e fo disor ou (1) SOAPOAUL WLOHTSedsIp
J9}O JO apes SuIOo10J ol} JT NG “syasse Yseo-uoU s,AURdUIOD oy) Jo [JB A[etURIsqns Jo [eB Jo UOHTsodsip

HYIO JO dRS SY “Siassp YsMD-UON s} fo jpp Ajpouumisqngy 40 pp fo uartsodsig {B)
7po
Jsofpies ayy uodn surejje sy jo dn-surpuim vB sousurutos yeys Aueduiog ayy “APP Biipany cp

‘QPF Sky] JO SUOISIAOId JOYIO SY) YUM SOURPIONOE UE PaajossEp
Jauoos ssajun Aynjedied ul anuyuoo jpeys Aueduioy ayy “AUBATIOA SY Jo Toneiig \'P

 

 

AUBGUIOT Syl JS Woe
POPS

"SOpVS JAUIOIUI FO SSOUISNG ayy Wi Sursesua sayryus
Ssauisng Jo]0 Ul sjsaiajut diyssaquiou Suremo Surpnyjour ‘Auedurog oyi Jo sjsasayut ayy un SI SUFa}op
ABLU JUOLIATLUBIA] SE OJSTAYA {RIVAPOU! JO PyEpOs SdHLATOR Joy IO YONs ayewopuN pue SIUSUNSIAUT [TYME]
fe pue Aue oyeur “sassoursng pymey [fe pue Aue ur adedue 0} st Aueduioy ay) jo asodind oyy

 

AUBAHIOT oly JO as6din gy
c spy

‘alo jufodde 10 wieyUeU 07 paunbas st Aueduiod
OY) YOIYM, UE oFeIS JayjO yoRs ut AuedWOD OU} Jo jWase posojsisai pue sayjo paraysifai v ayeuisap pue
joajas YeYS JUsuisseuRy] “JuAdE pasajsides Jo/puB dd1jjo paioysida1 s AuRdUIOD oy) aduBYD OY OYE YA
SOURPIOIOR Ul ST] OF OUI WOly ABLE JUATOSRURYA, “JOY ot YM aouRpioose ui yuase porsisiBer e@ pue
SOLJO PIlOISIGOJ B SIVUBISap [feYs JuoWaTeuR ‘TSI podHisisoy Pus SoiiC Paiaisisay OZ

 
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O1 JoMd Ajapeipa wun pooyja Ul sasuiuaoisg Wjoig soy oF UOIpOdosd ut sraquiayy
He Aq poynqiyuos jou si junoury Juowaanboy omjua oy) yy yuaas ayy up (ad

“UOTNQLUUOD jeyidvo YoNs ayBUE OF FoquUuayA] BYI JO suNey dtp) WloLE BURSA
JUSUIDAITY SIU} UL YO] 12S Saipoutes puvy syyBi ai Jo ye saRy [peys Aueduios oui
“JOpunaoy LOTNG LLCS fepdeS ;BUOHIPpE ue ayBUl OF poodBe savy jeVys 1sqUIsA,

B SOO YN TATBIUNTOA Sv UOHA9S siy} Japun suoNNgiuos yeydes jeuomippy — an)

‘Atrediwo7 ay} 01 aynqiaquocs 0} pasodo.id 1 puNOWe UNUTEXRLU ayy Uety
aiou Avd oF pasinbar aq [feys “Maamoy “TsqUIaJY ON “a1ofasol) puewep uodn
Ayoyerpouun Aueduiod ot} oi Joquiayy ayy Aq pied oq fpeys pue uowoFeuep
O} S8d1}}OU Nay) Ul aynqijucs of asodoid suoquiayy out Jey) syunowe wNUINRU
SANVIAT SY) OF SUIpsoooe Ajquizi juseTeuRyy Aq paulusojop aq eys saquidAl
yora Aq paynqijuoce 9q Avui Jey) JUNOUFY jattasinbay peinguyucoun ay) jo
Wood ay, “aINglUC. OF SUIETM aq Ppom Jaquus,y Yons junoUTY JueuoNbay
PAIN AUOSUN YF JO JUNOLUL UIMLUTNVL dt} JO [QWOTEIS B apnjouE TPeYys sorjou
YSIYM “SUBS OY} JO Id1JOU UAH “soHON Juautorinbay pucoas ay fo ayep aty
JO SABp SALy ULYIM “JuoUIeSeuRpy 0} Buncalep Aq Auediosd oy} oF UOLNGAUOD
Teuolppe yeydeo soyuny B ayew oO} JOo}a ARI UlOYM Jo YoRa “WnowYy
juaiaumbey ay} jo uontod payng;yuooun ay) jo (,.d090N TWoUroINbay puosas,,
ayl) ooyOU B sAOqE ‘(1) asneTD 0} jURASINd sUOTNGLUOD apEL oYyM JoquIay
yora oy pos Apidiuoid [peys quawaseuRpy ‘eaoge “(1) asneyo ui papiAoid pojied
OY) UY peqides sy aynqiyuos puv uondo sy asiojoxa jou Jaquiayy Aue prnoys (11)

‘QOHON Justuarmnbay
WH OY JO ajep ayy faye sAep QO] UBY ssop jou aq pyeys ayec] yuawounbay
SUL “(2 Wouanbay,, ay) Auediwwod oy oF poynqiyuos aq 0} pauinbor st
[ede yons YyoM UO ayep a} pur (sodejussiag jOig ,sIaquisyA] Sy) OF Suspsoooe
pipe oid PaUNusajep) Jaquiayyy yore Aq paynqujuos oq ABul yoy junowly
juauraumbay oy} Jo uoipiod ayy ‘(,qunoury puowosnboy,, ayi) Aueduioy ayy <q
poanbar yeydvo jo JUNOUTE [BOF OY] O} SE SIGS] OSIAPE FEYS yoy “(aoHON
JUStUAANbaY say, eI) syoUu B JAqUIaYW YoRda oF puss PeYs juoUtedeurpy (i)

“HOUR “SUOTIAGLUOS fede [LUO pPpe JO WLIO} a4y UL spuny BULL ppE uivIgo oF AuRdiwo7y ayy
JO} 3IQUIISOP 40 Alessaoaut SI} JY] SOUIAJap pUSUOSeURI I] yuauwasounpy fo uonoy 44 (q)

‘AURdWION ay} OF sUOTINGIUOS jeydes ;eUOTPppe ayeUt ‘auITy OF OUT) HOLY
IO aun} AUB ye “JuatioaIse snounueun Aq ‘ABU sIaqUofAY ay]. “svaqurapy fo juawaauSy Ag (2)

"SUOINGLILOD |eHdeS {BUOILPpE IO} passasse oq [PBYys IsqUIdPA OU ‘JOY otp
Aq pauinbal se 10 JUSTUDAISYy SII UE YO] Jos se jdeoxy “STONTG MUG pede [etOnIppy ws

 

‘OLAS BINJBUBIS $ LOQUIDJA] FLUE
apysoddo ypoy jos AWadoad 10 Aauow so yunowue oy] Aueduos ayi jo jendeo ay) oy ainqiquos quousasy
Siy] JO UOHNOANXS ayy YL ApsnoauBsiodiwayuos |yeys aquaja] yory “SUOTINGTHIO TRIES is

 

 

AUBCUIOZ SY} OF SUOTMNGETG pede)
§ Spy

“sAHBHIasaidal [EBay] AO JOSsaoans yons
Aue oj ajqeoydde suoisiaoid peuonippe 10} Q] oonsy 90g “JuatATeUyA, Jo JUSSUOD LATIM ayy NOM
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wy

'SOPRIUSHIIG HJOld A19YI 0} SuIpIOdoV sloquioy) ay} Tuowre “Aue fl “epureusas ayy, (q)
‘yeudes pouinjaiuy apo ‘fo Hiapxe ayy o} puy ‘oy uonIodoid ul saoquiayy ay) Buoury (e)

“1OPsO PUB YULI BULMO][OF SU} UL SUTUIOJEp [feys jUoTUATLURPY Sv SdutN YONsS Je sIaqUIOPA oy}
O} POINGLISIp oq [feYs spoasoig juoay [eudeg SPSS USAT [eyes JO Sis yAquIsiG 69

v

 

“SUILLIO}OP []BYS JUSLUDSBURJY] SB SoU] YoNs ye sasepuadieg }YOid A9y] O1 Surpsogo9e8
SIOQUIDIA, SE O} palNqLNsip aq YEYs yseD ajqepway “Ysey B[qulieny jo sionaqning zw9

 

‘JHOWIDOIT YY SIU} YUM souRpioooR
UL aw], OF dtUT}) WoL paysn{pe aq Avw ours at} se ‘(Auedwog ay) o} Jaquiay, oy) Sun uIpe quaunsU
JoyjO JO JuaLIBeTSy siy} 0} Jepujof ‘jusuieaise uondiiosqns s,roquigj yons ul 40) JudtaDISy stu}
O} AANJWUTIS S_Jaquia yova asoddo yLos yas sv aq [feys sioquioyy ou Jo .SSse SSIS G WOT,

 

‘yeuded pauinjeiun Jo suonnquaisip se (ajonzy si Jo suotstaosd uoKNquysEp aq ut) paynuaps ue yey)
SPOILIY SH Jopun apeui suoTINqLsip jo Ata Ag Jaquuay YORS 6} PourNjor useq Jou aaRYy yey AueduED
ay} OF SUOHNGIUOD ede jenjoe SaqUIDJY B JO YONU Os Jo sysisuoo (FETAE) pauinisioy,,

‘Spaa002¢ WUSAq feyidey se parealy
3q [TRYS spoado1g JUOAY JeydED Jo aAsosoi B WuO’] pasvajal sjuNOUTY ‘spodd01g jueAg yeydes Jo oinqeu
OU} UL SI “Ajua SUNNGHISIP ay] JO spueY aly UL ‘painquysTp JuNOUT aUy JEU PUO]Xs ayy oF AU JOyJOUR
Jo sumo ue se AuEdiuOD at} 0] poInqiysip syunowe apnyoui [jeys spoddoig yuaAg ended ~“yslqeise
ABU JUSUIDSRURIA, SE SOAIISO1 JotO Yons (11) pue sosuadxe pue sigep s.Aurdwiog ayi fo jrouded oy)
Joj wouladeuRjA, Aq pasingsip Joooyl uorsod ayy (1) ssoy ‘ssauisng Jo asmoo AreULpIO dy] JO sprsINo syosse
sy Jo Auvdwiod ayy Aq uofsodsip 1eyjo to ssop AyRNsed ‘uoIeUUESPUOD “SurouRULyal ‘aBuRYyoxe ‘ajRs oy]
tory Aueduiog oy) Aq paalooal ysvo jo JUNOUE JOU at} Jo IsIsuOD [yeYs ,.Spassoig Wsagq jendys,,

“YSHQuiso ABUL JUSUIOT BURA]
SB SoAJosas Yons (1) puke (Mojaq pauyop se) ,.spaoooig juoag yendey,, (1) ‘oAomoy ‘“Surpnjoxa

“SDINOS SH JO oaroadsau AuvduioD ay} JO puRy UO YsRd [Je fo IsisuOs [peys _TSB SPEEA,

SBUIUBSU BULMO]J{OJ SY} BABY [TEYS SULA] SUIMO][OY 9y,| “STOTT 19

 

AUBAIOT SAT Aq SuOnAqnisig
9 9pHy

"JOApJo UE SUITE] OF

SW WOI ISS1BJU] JO Bey aseg ot) Je “UOHNGLYUOS JeHdes Yons fo ayEp onp oy] WIOAS ‘sUONNgijUOCS predun

AUB UO {SOLD}! 19A09I4 0} payUd aq ose [[eYS pue ‘a]QIY sIy] JapUN suOBEIEGO ,ssaquayA] ey) SurosOUS

JO $1809 JaI}O PUB saaj S,AoUIOHE ofQUUOSBAI dy] IBAODSI O} pate aq yeys Auedtwod sy ‘apeur os

JOU SF UOTNGINUOS Yons Auv juaAd ay) a ApMba Ul JO MET IB a]qRERAR saipautal ye aay FFRYys WoWaseuRy)

Jo worpanp aur je surjoe Auedwioy oy} pure ‘ojponzy sq} ul paryioads suoinnqiiyuoo oy oyRUr oF JaqUUayA

(ws FO SUOTESYGO oy] sduojud oO] paynue oq jjeys Auvdwod oyy “SISAL TUT TEAG] os
“SUOTINGLNUCS

jedes yeuowtppe oy} oy sonid Ajoyerpaurun sisquiafy oy} JO suoNngiyuce

feudeo ayy jo junoUe syeSaisse oy) (Gq) puB suOHINGIAUOD [ended eUONIppe asoyy

(¥) JO wins oy) 0} UOBjel UL sasquiayA, BuNgHyuOS oy] Aq apeul suorNgLQUOD

feldes jeuoiippe oy} Jo JuNooOB ayR] Oo} Joajjo sanoadsoid yy porsnipe

oq [JBYS SIOGUIAYA, OY} Jo SaBeyuasi9qg Wlo1g oy) ‘soyON potatNboy ising ou
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‘sasodind Sunsodai xey omoour soy Aueduiog ay ul juoUsaaul aleyi moge Ajsadoid susquisyy
SY} ISIAP O} ALBSSOOOU OG FFBYS SB SHUAUIAIRIS Yors YM Jequuiayy yoRs apraoid yeys justuaseuey
JeaXk jeosly YOR jo asojo ay Jaye ojquonouid se uoos sy ‘SiIRS yy pitt syoday CL

‘MowadeuRA Aq asIMJoyjo pauruuojap ssopun wed aBpuazes ay] oq
j(eys 1a yeosyy s,Auedwog oy], WuswasvuR] Aq pouruLiajep se ‘stseq perso9K Io Ysed ay] UO pourelureW
aq Heys junasoe jo syooq s,AuRdWwoy oy], “Wax [Rosh] pit Siyinossy Jo pops TL

 

‘{S}OBIVYO PUL PULY OY] B JO souLALoR ul podesua sarueduioa Ag jdoy juNosov jo SyOo UL pasajyus Aypensn
are sv Augduto; ay) 0} Suqujal sdulyy pue siopeur ‘suorowsuely Oyo Yons JO [fe puw samanor s,uedwu0y
BY} JO ISiNOd ati Ul paseiyaind 10 pos ‘paataoa, ‘pred so ‘Auvduiog ayy Aq 10 0} Sumo Jo oF SuiBuopoqg
s}SafJo JO spood ‘sajuour [fe jo srejnosed oy] yNODDe Jo syoog s,AuedwWOD st} UL pepsooos aq [peUs
NRL “paydde Ajusjsisuos sajdioutid Suyunosae punos yy Ayuozuos ui Auedurog oy} 10) powieyiew
aq oO} WNODNB JO syoog anay pue Jedoid asneo jpeys JuowseuR “TUNOSS Jo Soo Ve

 

 

SHsvBAy NEL ple Siipanosay
Lopity

‘O40Z URYR SSO] oq ppnom AUBdUIOD ay] JO S}osse Jau ot) 10 ssotsng JO dsiNOd JENsN ay UL anp
su0daq Ady} se sigap sy Aed oF ayqzun oq pynom AuRdulod ayy sayjio ‘suolNquasip yons 0} Joayyo Buars
JOYE “fl SIOQUIDAY OY} OF apeUT oq ALU SLONNQUISIP ON ~“SUOTIIGUST to Stonsnissy 89

 

“JaGUiajAy JaypOUR 4O Audios ay} Oo} Jequiayy yons wOd
anp oq Apu }RUy sjuMOUTR Aug AuediuoOD aty WO’ JOqWOJAj B 0} NP attOdeq 10 aq ABU JLT] slUMOLUR JaLjO
40 SUOHNGI ASIP Aue JsulVse Jyo-Jos o] papque oq qjeys Auedwoy oyy “SiS WOH-1S “9

 

‘JSQOIUL Palopisuod oq Jou [PEys wNjor pawayaid e se panqisep sjunoWweE
Auy ‘yeHdes pauinjasur sy Jo yuNowe oy} uodn Jaquiayy Aue oF pomoyye oq []eYS JsateqU OU GuaMIEZsy
Si} Uf papraoid Ajssoidxa aq Avw se jdooxg ‘SUORRGLTS eae) oe SS] 99

 

“SUOTNQLSIP OF SB Jaquigyy Joyo Aue Joao jysi Ayuoud 8 aaRy
JBYS toquidjay Ou UusuIaAIsy si) UL popraosd Ajssoidxo oq Aww se jdeoxz “Sanorig c9

“AQUIATAL B JO SINVBU JO snyBis ou} (UOdN paseg WOly
WONAWONS SL dy} AoyM JO} 0] adusIajos YIM AuRdiutoy at} isurede apqussasse are ng saxey FumppouyMm
JO dINJVU JY} UE JOU ale WY} Saxe} 0} UOLwoI|dde aARY OsTE FPRYyS UOTIOIAg SITY “UONSOS sit Jopun soquiayA]
yons Aq pasinoul Auedurod ay) 0} sant qely oly JO UOLIBySHBS 94} SpaRMO} Papua aq asMayO pfnom
Jaquis) Sunpnefop yots yoryas oF suOTNGLySIP AuB jyojas pue Ajdde o1 AWoYyNE oO) savy ]peYyS AUEdUIO>
aU] “Ways UL au} O} SLU] Wory JsaJa]u] Jo aley aseg ayy yw uoloag siya Aq palmnbor suonnqEuos
jeyides oy} ayeur Apoury 0} Suytey Joquiay yons Jo ynsar we se Auedwiod oy Aq opr sqowesingsip
Auv jo yoadsar ur jso1sjuy Aueduiog ayy Aed [peys raquiayy| yons pue “‘sinzpizy yons Jo yjnsar eB se suaquiayy
49170 94} Jo AuBdWOD ay) Aq poLNdul sodeuip 10 sjuawAed ‘sanjeued ‘s}s00 Auv JO} ssapULIEYy sssquIdyAl
Jayjo oy pur Auedwog oy) pjoy pue Ajruutepul PeYs puw |yNepop ut aq [[eYys Jaquisyy yons ‘uoNNgiudS
jeudeo yons Aue oyeur Apu oO} [FRY saquisj,y B ppnoyg “AuBdwiog oy} Aq patyiou os Bureq s9ye
SABp Sait UY Aligery FuppoyyyM yons Aystws oF Aueduio- oy3 Aq papsau souryeq Aue jo qunoWE
dU) Ul spuny a[qguyreae Ajayerpouruly Jo uouNqiuOS jendes ev oyeW yjeys apeut aq prnom Surproyyyim
YORS LWUOYA JO} Jaquloy OY} “UOLOIOSIP SUOUIOseULYA, UY “Jaquayy Yyons o} pred oq 0] suoiNqiystp
ain] JO FUNOWE oy] SoNpar {[VYS PUL IPA SI SUIppoYTIM YORS WOM JO; IOqUIAFA, ay oO} UONNGLNSIP
B SB pojwou oq [jeys AuuduioD oy] Aq Surpjoyyya yons pue os op oO} JYyBL oy aaey ppeys Aueduro> ayy
“SMODUT §, AUBAUIOD dU} JO dIBYS aQuoO[pE 8 JOQuIdYA] B JO J1Bd JO F[B UO PdIAd} sexu} FEI] JO UBiosoy “oypeIs
‘yelapa,] AUB JIWIO] pue poyYyyM o7 pasinbar st Auvdwog oy jy SSXEL JO SuIppouyiyy p9

 
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‘yeydes
PSWIMOIUY Heyy oO} uorModoid ul pure jo JuayNa ayT 0} ‘siaquiayy ay) SUOWUR HOY GD

"(ISH POSdAaT
Ow SUOHEIOYE }yosd Jou JUadal ysow ‘ay/) pajywooye AypeurBuo o1om syyjoid
FOU HORS YORAM UY JOpsO ASIOASI ol} UE apetU aq FPBYS J9punoioy suonRool(y
Oshv[D SY} Jopun uoHBooj[e Aq payeuntunja Aysnojaaid jou ‘aaoge ‘(H)(2) asneyo
HM SOUBPIOSOR Ut Suossadapaid ay) 40 Gray) oO} apRtU suoHPoO|yE powtad solid
Sy} 0} UoLiodoid WW pue Jo ja;Xe ayy O} SLaguIayA) oy} BuowrE Uaty “saoge “(Hy(e}
OSNepO PM GOUBPIOOIB UF IWOAd Rost JOLd Aue ul payeooyye o1om spyoid you Aue di {t)

‘8807 Jatt BD {O aspa ayy uy {q)

‘SOBEUIVIG WJO1g 19Y) OF Tuppaooor susquiayy
dt} JO ye suoure ay) ‘saidde ‘saoge ‘(5)G) asnejo ji 40 “moyaq “(q) asneyo
0} JuBNsind sieqUa|y oy] Fuouw payeooye Ajsnoiaaid jou arom S380] Jou J] {H)

“MLOPaG “CIL} ASNBIO IPI SoURplOdoR UI UOT, (9)

‘QSALJ Passoral ore SUOTIBIOTE
SSO} JOU IUADISI JSOW “-9'1) poyeoor]e AJ[RUISLIO a1aMm SOSsO] JOU LYONS Yop
UP YOpIO VSIAABI OU} UE Speul oq jPeYS Jopunoiey suoieooppy ‘asneyo
Sil dapun uoyBoojje Aq poyeurunfs Aysnorasid jou “mojaq “(H)(q) asneyo
IPI SOHePIODN# Ul SiOssasapoid say} JO RISy] OF opeUt sUOITEdOT]E poriod
tod oy} 01 uontodoid ur pue fo yusjxs ay) Oo} SHOQUAIA, ayy Suoury (cp

‘GSI pasieaal are suolBooyye
SSO} JOU BSNL SOU ““9‘t) PAYWIO]]E A][RLUFIIO JOM SASSO] 19U YONs yoy
UE TSPIO ASssABI OY} UE pelle oq fPEYS JopuNaioy suONRoOTPy ‘asneyo
Sip Jopun uonesorje Aq payeuunye Aysnoraaid jou ‘mojag {un(q) asngjo

YUM SolBpsiOONB UW] Stossadapaid Jey] 40 dy] OF opeU suOLBOO]TE pored
douid ay} oy uotodoid ur pue yo juspxe a) 0} SIOQUId|JA, oL Suouy (y)

SMOTOq
“(q) asimejo 0} yuensind read yeosiy soLd Aue ut POPS! aaa sasso] you Auw fy a
ulfoud jau p fo asno ayy uy (z)

*SMOTPOF SB PaIBooTpeR aq jyeys ‘saydioutid Surunosow punos yy soueprosae ut siseq yenuuy up
UO psulUliazap “Auedwioy yj JO ssoy jou 10 pyord jou oy ‘SUOTBSOTY (poog) penuenry CL

 

‘padde Ajjuajsisuoo sajdioutid
SuUNUNOOR punoOs YM eouEpIOIIN UT soLty He 8 Isquiay, Yours Jo} pauleyureu aq qeys junossy
feuded, fENplaipur ue unosse jo syoog sAuedwiod ay) jo ued sy ‘SyaHOSTW Pe RD rL

“SUMYOI XV} DUIODU! HOY} BUI OJ SUT] SY Pudtxa ot joadyo prhoys Asay) yey) pue
siseq pouty B uo sasodind Sunioday xvy auloou! 1OJ pasnbar uonwunojur ye opraoid 0} ayqe aq jou Avui
Auvduiog ayl iey} o8pajmouyoe suaquiayy ‘AuedUiO oy] JO Jyeyaq uo sun. xe] JR90] pue oyejs ‘elope,
He Jo SuYLy ayy oF aas oj puw asedaid 0} yuewnoss" ue BuiBvsua Jo; aqisuodsos aq [feys JUswaseuey]
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OSIMIOYIO SB Id2OK2 dt} “OSeuLJA] Uo UBY) dJOUU aq ][PYS a19y) PUR UOTeJOSIP AUB asiotoxe JO UOTSIDap
Aue ayeurt ‘uoise Aue oye) 01 posinbad aq [jeys uawaseurpy sooty A, “Sunyppy-uorsioag (9)

‘Auedwuo, ay) jo (sMaseuvyy [Ripe oy} se puo|aIBY sil fo aded isayy ot
UO palyuepr suosuad Jo udssad ay juiodde suaquiayy ayy “(s/ueSounpy fo juauguioddy (QJ

‘AuBCIUOD oy] FO (S)iadvuRyy (Z) OM} aq [PBYs ay E “waquengy (e)
 SIISLURIA),, DIOL 10 IUO JO pasiiduuod ag [FEYSs

juoWadeuRIA, “TeMonied ul apoty sig) pue Ajpesqued quoutoassy Sty} WEA souRpioooR ut jusWOSeuR AY Aq
poyjosjuos puv paseueut aq [peys Aueduiod oy] Jo sueyje ayy, “SISSeUBpY Aq juoliasaIE A] 18

 

 

MUBAHIOS ST] Jo JastiaseNRyy
8 SpSilly

‘HIBUIOSLULIA JO SIOGUIDW JO SIEqUIa|A] ST Jo AuB Jo Auedtuos aty Jo yyeyaq uo
pus JO} AIOJVUTIS PAZLIOYINE UB se p-SS WO] IdIATAS sNUdADY [BUIO}UT YL maxatp WoHS9ULOD UL aINoIXa
Oy pue Ausdwo at iO} Jaquinu voneoyHuop! Jodedxey perapoy eB aoy Aydde 0} 7 os
soziioyjne = Aqaiay —- wlatuadeurpy ‘FoOUM_L UOHeI TUS pf FaABINeT. —ETSpa at Oe

 

 

"juouladeuejAl Ag payoayes aq ]pRYs saquuayy]
SiOYVIA] XV, AOssoIoNs B “TAqWIa|Y SISAL XBL oY) JO WOIBUBISE: ayy Uod~ ‘sioquiay) ayy oO} aorjOU
USHHM SABP QE BUIAIS Aq USISOI O} JYGSIE oY) OARY [FEYS IaqUIOYY SIDR] XBL oY ‘(Aequid|W susneyy
XBL, 94} SB UlDIOY O} poarages) (1 (2) €Z9 UOYOAS spo ul pauljap se .JoUeg sioyeyA] XBL, s,Aueduiod
aut sovjdoi pue saotual ‘juiodde jpeys juauisseurp “SSUTPISOOTY KET Jo wonelsiapy 6L

 

‘PEL HOLA apo7 Japun syasse
Auvduiog Jo siseq xe} ay} asnfpe oj worjOa]9 UB ‘uOHe UT jC “BurpNpaut ‘Aueduiod ayy Joy suonod}0
XB} [Je pues Auw (ayoaai pue) ayer Oo} 1S oy) aaey [feys juaUOdeuR,, “STOTPSSP NET. a

(POOL BOTPIIG apod saysiyes Ystym AVdA pRostL 94] Surinp
SLOQWIJAL DY} JO SJsaroju BULATBA ay] Bulwwusajap Jo poyjoui Auw joopas 0} WYSE oe savy ppeys pue (p)og/
UOHOIEG BpoD jo syuateunbar ay] yUNOOOw OPT ayBE {peYS JUduLoBeuRY “Uwad Jessi] B BuuNp aFeyusoIDg
Wold Sjoquiajay AuB UL sadueyo Auv Jo Juaas ayy uy ‘Sonus yor tir sssiyD iL

 

'¢°L UOLag 0} JuRNsInd powoo]je aw sua} Yoo Suipuodsassioo ayy se
JOULBLE SUBS 94) UL SIOqUIafAl ol] SuoulE paywooype aq preys ‘sasodand xv} owooul pesapa. Joy poindiuoo se
‘stay! diysioujsed sayjo pue Ypeio ‘uononpap ‘sso ‘ured ‘auroour Aurdwog “(Z-p9" | pue [-rOi"] uoHses
SUOITE|NSaY AMSRol_ “VOrELWA, OYA “Surpnyout) sapuniassyy payesjnwosd suonepnFoy Aunsvary
JO apod sy} Aq patinbar asimioyio se Jo ‘uiatsy paplaoid se ideoxy “SUOTPSOTFY WET, ob

“SS0| JO yi puw Aunduias oyj ut
SISMOIUL SIWMIOUOIS ,SJOQUISJAL Sth YA SHOCLUOS APNE, PSULaIap juauoseuEyy
WEY) JOUVEUL BU SIOQLUOAY ay] SUOLIE poyeso}]e oq ]feYS UOLONpep 10 ssop Yyons
‘OdoZ O} paonpas Uaaq savy SaouR]eG JUNODDY [eUdeD siaquayy ayy Jo [PR aou0
jeyl jdsoxa fosnvyo sty} JO suONRHUNE aU OF Polgns ‘soPepUooIag WyOIg sAnepaI
Hay} YUM SoUBpPJODOB UT SIAaquayAy JOYJO oy] GuUOUIeE payRooTE oq pRasuE jyeYs
UOHONPSp 410 SSO] YONS “sayelas UONBIO]e YONSs Yor Oo] sead yeasty oy] JO pua
dYi Je oouRyEq JuNODDY JeHdeD s.saquiajy YONS Ul POYap & sasvaioul 410 sasneo
HOHRIO][V YONS JUa}XO oY} OF Jaquiay BO] apEUl aq FPEYs UOTONpap JO sso] jo
HOHLOOI]E OU ING ‘sasRIUADIEg WpOIy 49yy OF Sulpyooae sioqiuayy ayy Suowe vsy yp Gp
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ay} UO uvY) Jato Apodord 10 Aauour Auedwiod osn so pusdxa oy AyuoyNE ou aaBy [feys quauTeSeue
“SISQUIDJAL OU} JO [FR JO UONBOLNB! 10 TUOSUOS LOWLIM ay NOY “sud 19804 PadaUuan {p3

"AURACLUOT Bt} UO SUIPUTG 3q FfeYs JUOLUASUE Joyo JO paap “WuaLiao1se Apanoas ‘advBpou
“OSES, “TORINIOD “JuoUIsaITE AUB UO SOLIOPUSIS pozOyNE Yons Jo soinjeudis oy) puw Auedwoy oy
JO SoMOUSIS pazioyIe sb joR oF suosiad oJOUL 10 duo SyeUsIsep AeuI uOWIAdeURPY “AnaoyNe Yons uodn
SuAjor up payoajord Ayny oq ppeys uossed paryy yons Aue pue ‘Auedios ayy jo syeyoq uo JUOUNLASHE JdY}O
JO paop uouioaise Apnoas ‘adeDjIoul ‘aseoy Jor.uoo waweomde Aue Fuynoena ul Apo NE puke tomod
SH papseoxea sel] juoMoseuRyy JOU 10 JoyJayM OF se a1iMbut oj Auedwosd ox) YIM ssoulsng Sulop uy 40
wosiod Aue uo voLEs1jgo Aue asodurt [jes pourejuoo uroloy FuyjoN -agnbuy o) ince oN (9)

"SSOUESHG
JO asimoo AIeUIpiO OU} Ul OU $1 Fey} UOLNSUBL B UL Suipnjour ‘syosse s,Aueduroc at Jo [ye ApPenuelsqns Jo
[@ Jo osodsip asimsoyjo 10 aduvyoxe ‘fos o) Ayoyine puw Jomod Wyss oy} sey juowaseuPpy FY) posepoap
Aproydxa st it Iqnop AuB JO BdUEPLOAR ayy JO} puw “Buiososo} oyl Jo uoneyuny noyuA “Auedwoy oy
Jo suonesodo ai] 1oj Aressaoau JO 0} JUSpIoUl sv ye ~ Auedutod oy} Jo syasse Joyo Jo spuny Aue saauiar
PUB ISOAU) PUB fours dU} JooURD JO pUsLY IO JuSteaIse Jo JowMUCD Aue Oj Jaqua ‘os op Oo} Aueduio5D
YL Wjousd TIM He SeAaT[aq JustiadeuRyAY Uo Sido puR saRILye Jo siqop ayy Apuwsens ‘Aueduioy
al} JO SJasse PUR SANUdAaI otf Joquinous ssiMJoyjO JO Uoly “adpojd ‘ayeooyjodAy ‘adesziouw “Surmosog
HONS UGLM UONOBUNOD UT pue SoTPAHS s,AuBdWUOD at) DoURLIy OF spun; MOIIOg ‘UOdIOY} SaoywUsIs (yo
LOTBUGISOp Sy) adUBYS PUL) S]RUSISAp PUP s]UNOOIE YUL BIO! JO OuO UNITE pur uado ‘Aueduiod aty jo
SJOSSP [JB PUB AUR Ya JO Uy BAP ISEMIAYIO IO asUdOI] ‘OSko] ‘ATULYOX “[Jas ‘soolaios pu” spoo# aseysind
ssjosse auinbow 20] Ajoyjne pur somod ‘yYysi ayy Buipnpour ‘me; q papiaoid se asimssyjo pue joy ayy
Japun Aysoyne pue siamod “syysis oy Jo [FE aaey [jeys Wawuadeuepy ‘Auvdusod oui Jo sesod.ind ayy yum
JUdISISUOD PUL “BUIOSaIO] sy Jo Appesouss ayy Sun, MOYNA “AjOYINP pul san0g (q)

“SIQUSLAPE JO JUSTUSAUOD “adold sulsap juauradeuRy se Auvduiod ayy jo sasodand ayy
ino Aueo ypeys pue AuedwioD ai Jo sueyye oy} Buryoaye suorsivap pje ayew jeys jwaweseury “Aueduso-y
au] JO SUIBJJe 94} }O.NUOD puR JoNPUoD “asvuvLE ‘opeisdo 61 AWOyE puB WSL dAishpoxe puB 9[Os oy) SAY
jjeys wowoseueyy ‘ufosiay papraoid osimsoyjo se jdooxg “eSpuppy 07 iysny aarsnjoxy (v)

 

‘ustissRlByy JO AToyINY ze

"WUSUISISY Sy} O1 AlOyeUaIS B SI IaseUR,] Jossesons
{ONS JOU JO JOYJayar “IOseuRIA| SB “aSeUL| LOssadapaid ayy JO sUOHRBIYGO au Jo Te O} yoalqns aq jJeYs pur
‘papsasons } uOHIsod osoyay oO} “laBeuRA] sB “IadeULTAL ayy Jo soaytauid pue syyS1 ayy Jo [Je Oo} payiqua aq
[[BYS daseuey Jossgoons y “oseuRy,, sv (siossadons siy yo Aue pur) UBL prAeq soujdoi pue saouial 0}
SLUT} O} SH} WOd] pue oui Aue je Coyne oy) aaRy ppeYys (ATSANOaT}OO sdossadons sty pu) UBLULD prARC
WOSBUTIY, SB (S1Ossad0NS SITY Jo AuB pue) UeIYSEpseE joey, aoejdo1 pue oACUI| OF SWAT] OF BLU, WHOL]
pue ot Auv je Auoyine ayy aavy ppeys (APOANOa}}O9 suossaoons sty pu) UBNYSEpPIEd joRYoA

"WIOWUISISY SIU} 0] AIOIBUSIS B Si JBSRUBA JOSSODONS ans JOU JO Joyo Taseuvp] se “odeueypy
Jossasapoid ay JO SUOLBSI]GO aly Jo FE O} pofqns oq [;eYys puv “‘papsooons H uoNtsod asoym oO} ‘AOTeUR
Se “sOdeURYY] OY} JO sasoplauid puw siysii oy) Jo [fe oF paynus oq jeys saseuey Jossaoons y ~uoseuRyA]
JO SOJO oY} UL AOUBOVA B SE d10Y] JBAdUOyM JoBeURPY MoU v jUOdde (11) pue soyyo wo soSeuRyA
B OAOWS (1) O} OUI] 0} SLUT} LOA pur oy) Aue ye Ayioyine ou) savy peys sodepuaoieg WOIg ayy Jo juoosad
(%1S) SuO-Alfly WS¥a] Je SuIppoy siequiayy ‘svaspuppy Jo muauaonjday pun joaouay (p)

“JoseuRyA] se poyuiodde suossed ou jo
[T® yo peaoudde oy) aunbar ppeys uotjasosip jo asto1eNa 10 uoIsiaop ‘uOloR au} ‘JUstUSAITY sity) ul popiaoid
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0]

“UOT}Ie AUB JO LVONRURLIOL OYE “{NEMEPUN sea JoNPUCD sUOsed oy] aAdITaq O] asNRD ayquuosRoI OU pEY
“Suipasooid Jo Lone yeunuia Aue oy yoadsar YM ‘10 AuRdiOs ay) Jo sIsalayut ysaq auy “Oy posoddo jou
10 “Ul aq OF paasijaq Ajqeuoseal uostied ot} JouueUl B uF pue YR} poo® ui pajoe uossad ou pr “Buipaaaoid
JO FIRS “UOnOR ay) YM Uonosuuos ut uosiad oy} Aq patmoul Afqeuoseos pue Ajjenjor juauropes
ul pred sjunowie pue sour ‘syuouispnf “{sysoa pur soaj s Aowoye Suipnyout) sasuadxa jsuieSe ‘asiidiajus
Joyo 40 Isai] “oumjusa jutof “diysiouyed ‘uoneiodica “Aueduios Aypiquiy paywiy teyjour Jo quote
10 aakopdurs “19940 “JoseueUt “JOIOaUIp B se AURdUOZ ay} Jo yonba ayy Te Turatas sem so st io ‘Aurduioy
att JO JussB 410 dadojdtua “ooyJo “raquraut “KaseULU B SUA JO S| UOSssad ayy FEY) JOR} |ByI Jo UOSBas Aq
“SAUBSTISOAUL IO SALJRIISTULUIpR “PBUNULID “TEAL Joyjoym “(Auedwio3 ot Jo 1B ay] ur so Aq uonoe ue ueUy
Joyyo) Surpaasord Jo jins “uoioe payafduios 10 Supuad *pouayeomy) Aue o} ‘Auied e ape aq 0} pouajeonp
si 10 ‘Apied @ st 0 sem OyM uosiad Aue Ajumapur yeys Aueduioa oy] ‘ToimayraWapuy 9°9

"ME, AG paltiuued jUaTKa JSOPNy oY) O1 UOIRD|S
SI} JO SUOISIAOIG ot) aJeNJoIJjo 0} SB OS panzSsUOd aq JeYs ng ‘MET ayqvoldde sopun payuny Jo payfpow
“POAIBAL ag Jou ABU Apqel] Yons yey} Guajxa ay) 0} Ajuo nq) yUa}Xe ay oO} 10 Bulopsuoim jeuonuayut
JO ssaussajyoa.s “aouadl[sau ssois Jo uoseai Aq Ayyiqely Aue Jo uosiod Aue (aaaijas 0} Jduroye 10) oaaipol 01
PaNn.YsSuod aq JOE [peYys UOIag sity JO suoIsTAOId oy} ‘AreQUOS ay) 0] SULOSoO] oyL Jo Aue SurpuxysypMjON
‘asodind yons Joy juswoseuryy yurwse osinooal ou sARy peys Ady) ‘Jendeo yons winjos 0} JUsIOYsNsut
are AuBduiog oy} JO santiqey, pur syqap ayy jo aBreyostp to uouded yoye Burureuror Auedwog ayy
Jo Sjasse ayy fi ‘pur pede way jo winqar ay] toy Aueduiod ayy jo sjasse ayy 01 Ajojos yooy yyeys siequiayjy
ALL “ABI S|QUUOSHS! YUM pojoojas ueaq savy [peys Aaqy] “yj! Apuo pue “yr yng ‘syuRJENODOR JO jasuNOD YoNs
JO UOHUIGO Jo OMApe aq) YUM soulRpsoode UE UDye) Si JeyY UOHOeUT 10 LOOe Aue UL parrisnf pue payoojoud
AlAy aq pue suey Auedwiog yo yoadsal ur syuRyNOSOR puke jasuNOS YAK YNsuos Kew mouMdeueyy
“AHBD BQUUOSPAI YIM pasialodns pue pauleyas 10 paseSuo ‘pojoojas sem yuede 10 soyo1q ‘aaXordure
ons Jey papraoid “Auediwog ay] fo iase soyjo JO Jsyoiq ‘osAojdura Auv Jo yey peq Jo Aysquoysip
“SOUSTIfHOU OY} JO} JO “uOOBUL JO ONDE ‘soYBIsILU YoNs oO] oNp sessoq sO 10 “Cuvduiod ayi Jo sisasoqur
1$aq AY] UE oq O} paratjaq A[quucsval Seay ey} asodind v J0j ye] pood ur puke S;quuosvas uoyey ‘uoyoeul Jo
uOH|OB Joy JO “juawspnl Jo saynysitu sauoy soy AuRduIOD ay] Jo JaquiayA, BO} d]qeH] 9q JOU FTRYs (saree
pue sjuade ‘soaopdura ‘suodeuvur “sioquiatu ‘ssappoyareys ‘siojoaup ‘siadijjo ‘stoujied spt apnyour peys g°g
HONHDIG puke UOLoeg siy} Jo sasodind Jof yorym) luowoseuRY, ‘JUSUSTRUBPY JO AUTIGEry L

 

“S[QUUOSES! PUB ITV] OSIM tayo
Jo ‘sayiediuos pue Ajewoysno st yor siseq Aue uo Fuoasoy oy) Jo oywerpyye Aue io juoureseuryy
JO soquiaur Auv “raqioja, Aue Yim [Bap OSIMsaYyjO puk OF JO WO.y speoyeu pus Aytodoad ‘spoo# jjos 10

 

 

auinboe “Ipim sodiasas Joj yowsjUO ‘Ao;duis Avul juouioseuryy “SSUTEY Ssa0sig Palepay 98
“Aueduioy
SY] JO aso} UY] JoUO spuNf Jo yno apete AuvdwoD ay) Jo Jyeyoq uo pepusdxa Apadoid aq ew yey
s}soo Aue JO} JUaUAdBUBA] asinquutas jpeys Aueduioy ayy “WalisseTePy Aq Samp pusdxy Sg
“JUDLUOIB

SIL] JOpUN SUOTINGIISIP JO aVYS SLequID,A] YOHS UU] 0] panjysuos oq Jou YEYS UOLIDES SIND ‘IaquIA)W
B SI uoWAaBeURIA, JO Joquiaul eB se rejosuy ‘Auvduiod oy) Sulseueu ul saoiasos sp soy suoTesauNui!
Joyo JO saoy AUB 0} Pay]jUS oq Jou [peys JusWASeURP, “JUSMISIRTEPY Jo Woiestiadie 5 rg

 

“ouinbas Ajqeuoseas
[feys ssoursng s Auediuod sy Jo onpuos ay) “uaiwBpnf sy ur ‘se Auedurod ayy Jo ssauisng at 0}
PAJOASP 3q OF SUH} YORU OS asnwd F]RYs jUauWIAdeuRYA, “JUSUTITOT SUIT S joswies vey cg

-

 

‘sasocuind Auedwos ueyy
Joyo 40y Avadosd 40 yipaso s,AuedwoZ ati jo Auv oBpoyd 0} 10 Auvdtuod ay} jo yyousg oy} JOf pue yunoedse
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AALBIAA O} PIPINUS 9q [JBYS JOQUIAJA] ON “JUOLUdIIGY siy] Jo swe] oy) OF JUBNsind 1daoxa “AuRdwoy ayy
LUOL USISAL 10 MBIPYUM 0} payUa oq ]]RYS saqQUIaA] ON “S/RMBIPUTTAL pub stonewssayg S46

 

“surUNODOB UE Joy AyMba 40 Me] JO }NOD Aue UL BONOe Aue UTeyUreUl 10 JULI ‘ysa8 0} “Mey JO UONPJado
Aq 40 o}NFEIS 10 JORNUOD Jepun Tulsiwe yay ‘SYS Pe Wojioj pue sarwm ‘aounouss Ayeouoeds
SIOQUIDJA] ay} ‘MB] Ag paylunad Juayxe LUNWIXEW ay] OL “Buipesdoid to uonoe ‘uoneodde yons Suruiofue
pUL SUUTes1S9z JOp1O 10 da.1d9p BO} payNus aq |eys ‘oavy Aww Ady) ey] Ayenbe ur pue wey ul saipowres pure
SIYSLI oy JO [fe Oo] UOTIPpe Ui ‘sroquIayy Jayjo ay) “Jaquiayy Aue Aq Uonoas sti Jo sUOISLAOId ay] Jo YoRoIg
Aue uodn pur yoorsy) ayes oy, pue uogyied yons 40) Surpaasoid io uoNoR Aue ospmoasoad 10 aouauTU0s
Jo JoyPUl oy) UT HoIDIpsinf SuLAvy AWLIOYINE Jo INOS Auw oF UOHRodde ayeu Joquayay Aue pegs Jou “p°9 |
Uol}oag Oo} JUBNsINd JsN.y UT Play sie sjasse Yons apf JO “UawaadDTy sy} fo wa] aun Burinp Auediuo ayy
jo Ayadoid Aue vornied of YS oY ony [peys doquia,) ON “SUTPMNGISY pues Woy $6

 

“AUBAUIOD 9Y] JO asOy] URL} JayjO spun Jo jno apeul
Auediuo7) ay so jpeyaq uo wap Aq popuddxa Ajsadoid aq Aeui ey) sisoo Aue soy susquiayAy ay asinquitss
Avut Auvdwoy ay} ‘juourseuey] jo uonalosip ayy uy = ‘Siaquispy JO SainpipiadTey £6

 

‘JOY op Ur polyloods asimJoyjo se pue juauieasy siqy epun Auvduioa
sy) 01 HW Ag paynqiju0d aq 0} pasnba: io payngiyuoo junowe oy) puodag joasay] sassoy ay) Jo Aue
fo Aueduio ayy Jo siqop ay] Jo Aue Joy ager Aypeuosiad 9q [eys Jaquiapy ON “ANTIRY Z6

 

“osBad JayjO AUB Loy 40 *Apordvout
S$, 49qUIS|A, YONS JO UOSeal Aq JO UOHNQisIp Yons 0] joodsar YM Jaquloyy, oy} Aq juowUBisse Jayjo
Aue JO UOSBaI Aq LOTINGLYSIP YONS 0} LUTB]D 1O UL JSoUDTUL UR oARY ABUL Jey] UOSiad Jato Aue o1 AUpGeRL
[fe JO WOHNGLYsIp yous 0} Joadsa: Yas juouledeuRyy puke AuvduoZ oy) pnbow jeys ‘uresoy paptaoid
SB SLONNGLYSIP AUBCUOD BAIBIOI OF JYSLE dt} JO BOUTISSE OY} OJ 10 ‘SAAIQRIMASAIdal [eTa] SU 0} JO JAaQUIS|y
8 se sprooar Aueduiog at} HO UALoYs Uostad oy] 0} AuRdmOD ou Aq JusUIAaIdy sty] YM asouRpi0joR Wt
opel UOHAGUIsIp Auy “lequiayal B Jo Ayoedeour ay} jo uoseaa Aq 40 uOsIod [ons 0} JsasaqU] UB Jo JaysuBH
JO JUSUUISse UB Jo asneooq AporoUl (Q] apONFy YM souerduos ur syuouMisse 07 yuensind saautsse
OF SuONGLYsIp oF joadsal YM ueYy) Jojo) uosied soyjo Aue YM jeop o} posmmbai aq jou [peys pue
PSHIUIPR OS O1B Jey) SHaquIa|Ay se suOSsiad YM A]UO [ROP poou JuoWoseuR,y pue Aureduiod sy “sequal
B polopisuod oq |fBYS JUSaaIsYy SI} OF Alolwudis B ioU SI OY UOsied OU ‘QT oP YM soUleps09o8R
Uf JoquUIo|A, @ sB AueduIOD ay} 01 payIUpeE ssayu “Auedwod ayy puiq Jo toy uss 01 40 Auediuod ay) fo
JeYeq UO Jo JO} Jou OF AyOyINE AUB savy JaquiayAy Aue jjeys Jou ‘Auedwos aut yo jusuradeueul 40 [onUOS
ou} Ul ed oye) pfeYys Jaquioyy ou ‘Aresuoo ayy 0] JUSUIaAITY sit ur popiacad Ayssardxe se jdooxe pur
‘WUSUISSEUBA] JO JOQUISUE B SI Iaquia,] B ssajup] “SISqRIS|AL oUt JO Stones gg puy Spsiy L'6

 

 

AUECHUG’S SUT UT Ciysiaquisyy]
6 SY

"97g LOTIONS YM souRpsosoe ui AuBdWOD ay} Aq poLuUepUr aq 0} payua aq
[eys wiswradeuvjay Aq pojurodde siaoyjO “jusursssy spy) topun sey juauisdeurpy ueyy siamod pue syydi
Foyeald 10 Jusiaggip Aue sal] [peys Jo0lgjo yons ou yey) ‘Jaaamoy ‘papraoal ‘oaosdde Ae juowoseury) sv

SloMOd pUue s]Yysis payesayap YoONs YIM pue sorpoeded yons ul ‘AuRdULOD at Jo S1D9IJJO SE OAsOS 0} SUOSIAd
a1oul JO suo yuiodde aun oF sui wos Avw juowadeur, “AUBdTOS Say jo saa 6'R

 

‘JAPMBEN sea jonpuos s losiad ayy
JBY] SADT}OG O} SSNEO a]qeuoseal pey Uosuad ayy yey “Surpaasoid so vONoR jeULUANID Aue oy Joodsal YM “0
AuBdUIOD otf JO S}Sa1ajul ysaq oy} ‘o] pasoddo jou 40 “Ut oq OF paaatjag Ajquuosvai uossod ay) JY} JouNELE
@ UE pue yey poos uy joe jou pip vosiad ayy yey} uoNdumsoid ve ayRaso ‘yyasu Jo Jou yyeys juapeammbe
SY 40 adapuajuod ojou Jo ead 8 uodn 10 UONDIAUOS ‘quatUaples “Iapio ‘juswspnl Aq Burpasoo.d 10 pos
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Pasn Se Moqlisj, ayy sponuOS Apoaupul Jo Apoaip 10 Joquiayy ayy Aq poffoawoo Apoanpu so Apoonp
$1 OM Losiod Aue SI SolajsueLy payunieg B ‘ATU UB SI OM Joquuiayy @ JO asvo ay) Uy “Iaquiayy Joyo Aue
(A) 30 Soaoge “(t) Jo (i) *(2) sasnejo U1 paquiosop suosiad a4) JO a10Ul 10 ato Aue Jo/puR saqtuayy ayy Aq
poffosu0s puw pouMmo-AyjouM Ayu Aue (AL) ‘Age *(11) Io (2) sasneyo ul paqiiosap uosuad Aup 40 Jaquisyy
BU} JO WJouag oY] 1OJ paysi]qeysa ysiy vB (11) “Sulodalof ay] Jo Auw jo osnods BJO JaquiayA, Yons Jo JosoouR
Jo JuRpuassap [eat] @ (1) ‘asnods s zaquuajal yons (1) sl sazaysuely payituog & ‘ENptAIpU uP st ouM
FAQUS]A] BJO ISVI SY] UP “SalapsuBL] POs B OF ISSIOIUL S taquiayy e Jo wed AuE 30 Pe fo JaysuBy BO}
WUSSUOS St ABpOp 4O PfoyYyIIM ATqvuOsvaIUN jou |]eYSs JuaUIESseURPY ‘saauafsuD4y, Payday {q)

“LOIN SIq] JO SUOHRUN], ay} 0} Joafqns
OG OS}! [[RYS SHIQUIDJA] QB FEY] SONLUS UT SISOIOPUL JO SIOJSUBI] ODN PUL JO JOONG, “JOAdOSTEYM JLo 10
2010} OU JO puR LoHdosuL Uo ploa aq ][BYS aouRIqUINIUS JO JaysuRs| Yons Ay “juaUIadeURA Jo yOsOS
WOYLA JON ay) jNoypa Aueduiog dy) UE ISAIOJUE SH JOqUINOUA 10 JofsuRI] asIMs9YI0 10 ayesayodAYy
‘odes youl ‘adpajyd “adueyona ‘ffas [jeys requiayy ou ‘Uialoy YNo} jas su ydaoxg “Ayouauay (8)

 

‘SQUID, A SIBISTETE ot‘

 

S]solojil] fEUOTPPy JO SaliVnssy Ple SISquay Aq SISpsaeTy
OL 9phay

01
SPOUT UL POUIBUOS SUOHOLISal a4) “UONBTUNE NOY “BuipHpoul “WusussITy sty] Jo Sula} ay] 0} palqns
"H O} payNqLysip Isaayur AuRdwos otj} Jo sawys ayeuorodojd ayy Jo wayxe sy) 01 Joquay, v se Auedut0D
SY} O} payurpe oq oO} payjus oq [jeys saynquysip yons yowa “Ysnay BurNqiaysip Yyons areuruseal pyeys
UVOHNGUISIP ONS JOU LO Latpoym ‘s}sty 40 Jsnay Jayjoue OF 10 suosied 40 UOSISd JayOUR oO} 10 ISA YyoNs
jo Areroyjouag @ OF “asimsoyjo Jo uounutodde jo tomod Aue Jo astousxea ayy o} JUBNsund Joquiayy B SI Yor
ISN. B JO Jsasoqul AuBduOT ay} FO UOTJod Aue JO [Fe JO UOTINGIHSIp Jo uOTyBoOFTR ayy uodA “Aundiuoy sup
OPBUILLID] JOU FPRYS FaquiayA] B Si Yor jst) Auw jo UoHBUNIa] OIL] ysvtdy fo uolpoujutsay (3)

“S39]}ST] IOSSSIONS YONS [fv
JO AUB OpPNPOU! [fCYS ,,dd}SMj,, ULID} 94} ‘JUOUISGITY Sti UL posn sy “aa}SN.4 Iossadapeid sp se suoEsIqo
Puy SOHMp stuRs oy) O}] JOolgns aq pu sadajialid pue sys sures ayy asioJaXe O] payee oq [peys ulaloy
JOQwayA, B Sl YOM ysty AuB JO saojsnuy JO oa}sny Jossaoons Ay “aapsiy dOssa20ng (q)

"JOATSY] AIWPNZOUaG JO JOBS
‘gojshy Aue jo Ayyiqely peuosied & 3q jou jyeys pur o}eIS9 Ish sy JO JUOTNE {jTy ott OF IsNay YONs Jo Tey
Ayuo aq |peys uosiad psy) Aue oF 10 Auedutod dif] 0} shay B Si YOIYA Jaquiayy Aue Jo Apypiqeyy Auy josey
uoHMdexe Atoyy Aq Ojesay sarjied ayi Aq paatem Ajssaidxe Sulog “Aue jt ‘ApyIqeiy yons [ye ‘ula1sy pourequos
‘pordu so ssaidxa Joye ‘juRusAo09 Aue Wwuojsad 0} Jo Slopuneley pred oq 0} pasmnbor sjunowre Aue Xed
oy Aypeuosied oa3sn.y yons Aue jo led ay) uo Ayyiqery Auy Suneaso se panaysuos aq jpeys paureyios uiaray
SuUNYOU Jey] poaise puv pooisiopun Ayssosdxa si pL puv “aaysnyy yons ul poysaa pue uodn pauayuos Ayoyne
JO Jomod oy} Japun pue asroseXxe at} UL aeysiua sv Afofos ing ‘A|penpiarput jou ‘aaysnuay ayy Aq si uoNNoSNS
Yons *jsn1jy AUB JO sajsnij} ayy Aq paynoeNe SI JUOWIIAISY SHY uayAA ‘saaysnay sp suoTOy {e)

AGT ORY  —9°6

8 "UOWIDSIS YY SY] UL aay aasya
popraoid Ajssoidxa se (p) pure raquo) yons 0] Sumo pue snp vay Auedurod oy] 0} suvoy Aue jo yoadsas
uf (9) “Q} ajoury 0} JuBnsind Augdiios ayy jo dn-Surpuiam ayy uodn suopnqnysip fo Aem Aq (q) ‘9 apy
0} Juensind papraoid se suounquysip yo Aem Ag (e) idaoxa Aueduieg ayy wos Autadoud so Kouow Aue
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a

do syst Aue savy yeys ‘raquiay paseosap eB jo soayeday Jo say ‘saayeqesaidas jesay ayy Suipnyout
‘udsIad ON “Aqaley payzydiuajuos yuatunsop salto Aue Jo Jooisy jredsojunos & paincexa sey uostad yons
JOYIOYM OF PUBBas ]HOYIIAL ‘punog Jo joalqns sem ‘AUP jt “WaroyUL UW Fossagapaid sy YoryM O1 JUSMIBAITy
SIU] JO SuOITedI{QoO puk sUOTIPUOD ‘sULIo, [Je AQ punog puke o7 yoalqns oq |VYs “WOAIOSIBYM JouUELU
Aue ut ‘Aueduiod ay] ul ysasaqu ue Suiunels 3o Buninbow uosiad Auy ‘yoalfy Suipuig (q)

"JUDUIOS ID
s1yy Aq punog aq 0} saaide uosiod pres yom OF JueNsind 4uawiedeuRpy oO} AlojoNysHes aouksqns
puy UOJ U] ‘JUaliseise UsylM B AuBdioOd dy} OF SIaAI}OP pue sojnoax sayHUpE satjoadsosd ay}
(Ir) pue “quowadeuepyy Aq paydsooe puy 0} palaaljop si juouTUgIsse oy] Jo jeurSiso ayeorjdnp eB puv ‘sauSisse
at} AG BUNLIM U1 pajdaooe puv JoUsisse oy) Aq pousys “TUM Ul OpeUs St JUSLUUTISsE oy) ‘Aqoray partuued
AuBdWOc) BY] UE ISaAoJUl UB JO JMOWUTIsse UB JO osvo ot. UT (1) [UN pue ssaquM Jopunoioy soqway]
[BUCH ppt JO aaloysuei] B Se pajwupe aq [feys uosiad ON ~uOIssnEpp sof aanparo4g (z)

‘Audio; 94} 0} suosiad jRUOILPpe JO VOISSILUpE oy} PUR
sisaiajur Auvduiod Jo suajsue.yg o} Aydde yjeys sajna Supmoyjoj ayp “SUGISIADTY ewan prot}

‘JUAWIDSISY S14) JO suoTsiAod pue sutia] Uy
JO [f8 0} Joalgns aq yeys UoIssiupE toy) spoodsos JoUjO [je U1 pue “IOpuNasay SUOTIOLISOI puke suoHestygo
ayy JO Ye oy joafqns aq YeYs pue Jopunsidy sieqlayA, yeULsIO oy) Jo sodapiauid pue syysu ayy jo qe
O} PAPUS aq PpeYs SJoquIdyA] [RUOIUPPY “Ssuaquiapyy jouotppY fo suoywMsygQ pun srsry (3)

“WUSUIITBUBIA| JO AOQUUOUE B IO JaqUIa|] BO} aunt AeuuE FEUD Jsatop ajouold Jo isasayut
PaLV payRo-os AUB JO UOLNPP sy} asnvs JO oMboa! 01 panaysuos oq F[eYs paureyios ulotoy Tunpoy

‘SISLJUTOINY WOig ,SIOQuIg,AY SUsINa ay} OF OLLIodo.d ul suaquIafAY TuNstxa
SY} JO SOBLPUDIUSY WOIg 3} dN{IpP 0} pazitoyine si juoulaseuLA ‘sures yo joodsai UT UOHNGLIUOS fendeo
8 ayRlU O} posnbas you si puw (odejUaIdI0g WJO1g [UOLIPpE UR 10} dde]UIDIOg NJOlg B AIGISI O] SI IAQUID|Y
BULSIXA 10 JEUOIIPPE UB JY “SOBRIUDIIOY WJOlg ,SIIQUIAJA, BUTSIXS 9y} 07 UOIIOdOId UL oq fPEUS SudquIayAl
PUNSIND dy] JO SOSLIUSIIOG WJOlg JO UONNJIP ay] “ssaquuayAl [RUCTPpE at Jo suoTIAQiAUOS ends
a4) 01 JoLId AjoyeEpaLU siaquia|Al ay} JO suOTINgIUOS jepdwo apeSoase oyy (qq) puw suoNNgIUOS |eHdED
JBUOHIPpE sso) Cy) JO UMS sy OF TONB[O1 UL suaqwayA, JeuoTppe ay] Aq apel stiornqiguos jendeo
[EUCHIPPY OY} FO JUNOISE DNR} O} SUaQLUDTAL GUIISENS at] JO sodeUa.I0g Hpoig sy} isnfpe o} poztiogine
Sl }UDUISSRURIAY “SIOQguoPA, GUSIXS O}] SISO} JELOHIPPR JO adURNSS] ot) JO suaqUa|A, FLUONIppE

BOW LO BuO Jo AUBCUIOZ dt) OFUE UOLSsHUpR ou UOdr) “sasejuaolag Nosy fO juauzsnipy (q)

“AfQUUOSBA PUL IE] SI oUTUS}Op ABU UOUISeUBIA SE SULIa] YONs HO
SHOQUID|A] GUSIXS OF S]sada UE CHYSIOqLUDLU [BUOHIPPe ONSSI JO SIaquIa Ay [|LUOLIPpe stow Jo suo Aurduod
dy} OU! jrUIpe Avur pUsWAseuRY, “s7Savazuy diysiaquiapy Puw saaquapy pououlppy {v)

 

“SSSI PRUCIIPPY JO SSTENSS] = cg
"AUBCIIOD dU] UE SISSIOIUE SEUOUODA JOYJO puke SLONNQLYSIP 01 1S s JuguoseuLpy Jo sequuaur
YOnS JO Jafsuvl] IY] UIOAOS ]VYS |'O| VOHOSS “g BOILPY dopuN suUOLINqASIP 0} papyUE ssimsayJO si
10 AaQWd|A] BS] PUDWATeULY JO JOQUIDU B SB IBJOSUT “poezsuey to JO posodsip astmsoujo 10 padesour
“paspajd ‘pausisse ‘pros oq Jou Avt pue Sulag Jo afgiidassns jou st Auvdiio7y oy) Jo sueye oy) Burseuru
Ur JSola}UL sjt pue AueduoD oy) Jo yuode ue si jusWIAseURA, “TWSTSSETBYY Aq Sissel, «= zg}

“Aqua
ue JO s}ydui Suyoa pus syyoid ‘yeydes ayi jo juaoied g¢ uety 10 Burssassod suvaw | jouuos,, “u1819y
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‘PAINIOSUN JO PAinses aq ABLU GUIMOLIOG PIES “3}ON URO'] oY} Jaye SAep SALJ URU} sso] JOU 9q [[RYS 1G]
uRoTy oy fp *(,.83eq Ueo'},, ayy) pozinbo oie spung pons yaya UO ajep ayy pue (Aue pr ‘Apmoas pesoyeypoo
SY} PUY JSAIdUE JO oyB4 Ot) Burpnjour) Tuimostog pasodoad ayy fo suuiay oy} ‘(junowy weory,, ay}) Mou0g
O} syoas AuBdUIOD ay) YOIyMA spuny JO JUNOWWE [e}O} 94} JO FOQuIDY YORS asTApE FEYS Yor ‘“CsoHON,
ubO'y,, 34) sanou B Jaquisy Yyoes Oo] puas [[BYs juowlaseuR ‘svagurapy Of aorjoNy (@)

:spuny
yons Aue Suydeose oO} sduid vay) “Iaquiayy & JO SJBIYJe UB 410 Jaquay] B WoL spuny moliog 01 AueduioD
SY} JO SISAIOTUL OY] UL 9q PfHOM TI Ivy SouTUOJap JuoWAseUKPY J, “STOGUSPT MOI SUBST [1]

 

SUOISTAOIY SHOSTBT SST fj
LT opniy

‘Aurduto-) oy 0} UOIsstUpe Jo
UOHIPUOS & se pub oO} JOLd afquded aq YRYS puL ‘audisse ay) Aq ouIOG aq [PeYs (SISOd puR saaq s_ AoULOYe

SurpNjoul) FUaUUsIsse UB Surssosord ur Auedutoy ayy Aq pawmnour sisoo ayy ‘syse9 (a)
juoUlad EUR

Aq poaoidde se saquiayy ev se uosiod jeuctppe Aue Jo wOISSILUpe oy) JO ysolojW s.iaqua;y B JO

aaudisse AUB JO UOINSGNs sy] OF splasuoOs Aqoloy saquIa|A, YOR ‘suaqutapy fo juasuoy (p)

“AUBCUIOZ 3U} JO SB]JV ayy Jo oryuOS pue
WOWOSBUBL oy) UL ayedrored 0} OSLMIDHJO puL OJOA 0} 1YSLI oy} BuIpNjoxo yng “(suoVao]|e SurKueduroooe
pue) suornginsip 01 syst S.uosiad Yyons ‘uOnR TUN] jnoyM “Burpnyjour Auedurosd oy) uy ssaqur $,uossad v
uboUl jjeys Auediod oyi Ul Jsasojur s1WiOUCs. ue ‘YdeAeied sity Jo sasodind 40,4 -saysuey payodind yons
Jo yMsei 8 se (sastiedxa puke saay s,AduonE pue Ayyiqey Xe} peUoUTOZOUL ‘OF pat, jou mnq “Surpnpour)
INoUL ABLE Way} JO Jaye yey) sadeuep pue Appiqety ‘s}soo |B WOU, SIaqUIA|) Joyo ayy pue Auedio0y
OU} SSOPULBY PFO puk APIULUapU oO} d]qety oq FEYSs JueMaseuRyW Aq Sura uy poaoiddy usaq you
Sel Wy} Joysuesy payodind Aue ul asesuea 0} Sundiwaye jaquisyy y “Aueduiod ot} 0) avy Aveta sosaysubn
JO JOJQSUBI] SY] Jey] sASBUIBP IOJ SaHIGelE 40 suoHeBHGO ‘s}qap Aue Aysiyes 09 (Aueduiod ayy jo siysu
ayqetinba 40 peso] Jato Aue Suny jnoyim) poydde oq Aeur aassysuen payodmd yons oF suonnqiysip
Auy “AueduoD ot} ul isazajut yors of yoodsar yum suOTNgLNSIP Aue 07 1YS OU sABY [yeYs pouaysunn
uaoq Afpoviodind sey Auedwiod say] ur ysosOWUT ssOYM JOqUIs}y By PUR YsazoyUt sIUIOUODa YoNs 0}
joadsar YM JOUISOIs y si Aq paptAo.d se (suolRoOTTe SuiAudutoogR pue) suOTINqLsIp 0} Afajos payuny
Auedwod ou} Ul Issey oHMONODS Ue A}JOLS 9q [feYS s1Ysra s.sosaysuen payodind ay ‘Auedwos ayy
UT ISOMAIUL S Jaqluayy B JO Tajsuesy payiodind ou aziusooas 07 pormbas si Aurdutos ayy ‘Mey Aq “aaamoy
J] “Auvdiuos ayy yo spiooai 10 syoog ay} yoadsut op (A) 40 Auedwuo7 oyi Jo sneyye ayy jo Sununoose
JO UOTBULIOFUL Aue uTe}goO 04 (A) ‘AuBdwiog ay} Jo Juade uv se joe 07 (At) ‘Auedwor ayy Jo jourdeuew
ay up ayedyoused 0} (in) ‘leper Aue uo 330A 0} (11) ‘Auedutog ayy tol suonnqiysip adtaoer 0}
(1) }YSEE yy ‘o} porayy jou Jng “SurpRyaul “oy oy} Japun paptacid osiaiayjo AuRdiuOD ayy Jo Jaquiay, B Jo
SIYSTI OU} BABY YOU TTEYS apory sty? JO UOTEPOIA UE pauigzsuesy aq Oo} poxduiaye si KueduuoD oy] UL sora
UR WOM Oo} Uosiad Auy “juatteseuRy Aq poydoooe puk 0) pasaaljap uaaq savy Uoijoag snp UL palroods
SJUDLINIOP if] SB OW] YONs 0] JOLd LoUdisse Yons Oo] yey poos wi spew suonnqusip toy AV[IQeI_ Ou Mout
Heys pue spodsal [[v i Joost) JaUMO apH]Osqe ayy Se Isa1ajt POUSisse oy2 Jo JOUTIss¥ oy) wa. oO} payius
aq [[eYs JuauoseuLpy pue Auediuog ay) ‘punog 10 joofgns sess ‘AuR jl ‘Jsodaqut Ut JOSsodapaid sp Yor 0}
JUAUIDAISY Sit JO SUOHESITGO puB sUOTpPUOS ‘sUUa} |[B Aq punog si Auedwod ayy ut yas} Ue SuTUNEO
JO Suiunboe uosiad B yey) Suipuvysipimjon ‘juawudissy fo aounidaoap oF toldg suouoy (9)

“AQoay payiuilad sz jdooxs Jaquiayy B ati093q
Jo Aueduroy dy} UW Jsotoyuy ue ommboe [yeys uosisd ou pure ufoiay yoy jes asoy] UY} Io}BaId suOTRsI|Go
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‘E'S | HONDAS OF
SIGNS aq FPLYs (UOWESIS y Siu} O} syUStUpPUOLE a39M AoUy Jf SB PAMOIA) S]UduIMOOP [BUOTEZTURTIO Yons Jo
UONNSIND OYJ “|| HOMOAg Wis Woduiod [yeys Quatuasidy siyp Oo} siustUpUsUIE atom Ady} JI se PaMatA)
SJUSUMOOP JBUCHEZIULSIO YONS “jueursseuvyy Aq paquasaid sv AWUa YyoNs Jo sjoUINDOp yeuOLeZIUBBIO
ay} JO SUD} ot} AQ punog aq EYs Aoy] Jey} daise ssoquIayA, “UOIIDES shy) YAK aoURpsoo9R UT AWWA
JOYJOUR OJUL WOAUOS IO YUM d}epiposuod “YIM assour AueduIod oy ppRoys ~Jeppoyaiwys FuNoa aos ayy
St JUSULISEURYA] PUL SIapP[OYSIeYs TUNOA-UOU JV SIOGLUAJAY YOIYA UW FSM} PUOLSSALL aP!ISA [RAE B OIL JO
‘souped Fesouad oy) Ss] juUUOseUBA, puL sited poy] oie suoquIoyy YOIYA tH drysssuped pay Boyt
poHoauos aq Avur Auvdutog ay ‘uorepuy Jo Ae Aq jou pue uoieasny! Jo Kem Ag “Aqua zayzo yons Jo
uosiod TuyjpouUos ay] auioseq Yeys juousdeuey) pue “(as sazut S|so1equl oLMOUOSS Nay) jo UONRoIpow
WNOYHM) Ayua JoyjO Yyons fo (s)isuMO at oUIOINq ]eYs ‘AuRduIOD ay) ‘UOTAGUOD B JO asd oy}
Ul “IO QUowaseuRY SuIpN{ouL) siaquiay,y ayy ‘AW {UA JoYIO YONs jo SaHIpIquly pue siosse ay} oUOI0q [FeYS
Auedtuod ay} jo saniigel, pue sjesse ay) uadnaiaym yoy sy IA, sotEpioooR UE a1R]S JBYIO AUR JO SME|
DY} JO VIS By} JO SME] ay} JopuN patios AVjUS Joyo AUB OFUL LSAUOD JO TIM ayeplposuos “WUM oB19W
‘O} S}OSSE SH aINGUFUOS 67 AuRdtIOD oy} asnVd oF UONoIOSIp ojOs sy uT Jaamod pue 3S ayy sAey qpeUs
WISUIISBUBIA] “JUaWOAIs yy say ul ArequO. oy) oO} BuTyAUR SurpuvysyAMION “WOISISATIOR = oy]

‘Ulasay paqiiasop SuOHRSIqo JUoWasINqUIaI oy Suipuny 104 atqrsuodsai Ajapos aq [feys
JoQuiayy YL “CoquioyA] Jejnored B yo ayelf_ye 10) soquidy,] Jeynosed w Jo JONpUOOSIL [YIM Jo prey
‘souad8ou ssous sy} JO uoseai Ag sosise AjuRENd oyy JopuN uONRdljqo ayy IY} WOAS oy) UL ~“JAquIa;,,
® ST Uossad Yons JOU Jo Jayjaym “AuRdiuog ay} ul Isaiojul Ue sppoy oym uOsiod Aue 0; Apdde jpeys UOTDe¢g
SIU], “UOTIEG SI] JqOjUS OF WYSLI ay} SABY YRYs JoorayA yoodsar ul UONNGUOS eB FuryeUt 10 Ajesens
yons Aup vo yuouded Suppeut Joquiay] & Jo pele Aue pur soquiayy Auy ‘aBeyuaoleg WOlg Ss Jaquloyy
yons Aq pardiynu: juauked yons Jo umoure ay} oy fenbs youre ue Auerend yons jo jwouded aig oF
PAMGINUOS savy [PEYS Joquo|A] Yous ‘apes div SfOqUId]A, 343 SuCuN pu UddMjoqg sjuautAed [pe Joye eq
tons (Gaquiayy B Jo oeyLJe yons 10} daquiayy yons o7 jusuised v aye Ajoqeipauiun peys siaquuiayA] 130
ay) “Aueduog oy) Ag pasinqunad useq jou sey puBUap Jo au} Je Jey ssaupoigapul AuRduOD Jo Ajuerend
Bo} joadsa YM yuatAed sayeur Glaquis,y B JO oVeHYIe 10) doquiayy Aue jy ‘oFMUDIIAg WoOlg S,J9QIUOTA]
ons o} uoiodoid ur Aqueiend yons 0} yoodsar yim syqety oq jpegs sraquiayy ay) Jo yowe ‘susquiayy
ayy SuowY pue uaaajoq se *Ajuwiwns yons Aue jo suo} ay) Suipuvisyyajou pur ‘aousjues SuioFary
OY} JO UONBUUH, INOWIAL “JEpuNaisyy JojueseNs oyr Aq ape squauded ye puv Auv soy sojuviens
ayy osinquites Apdusoid peys Auedwios oui uaty ‘Aueduiod ayy Jo ssoupayqapur Aue sonuriend “aquiayy
B JO OPVIYFe 40) Joguoy Auv judas ayy uy “TONNGMWGT TS/pue Tianssnguay fo TST} x1]

 

"€'°9 10 79 SUOH SIS JOpUN SIaqtUayA] SU} 0] SPU div SUOIINGLISIP sOjfoq Sioquiay,) Jo sayBIPe
Jo sloquay Woy suzoy qe Avdai oO} UONoIOSsIp ay} saRY PFEYS juouMdeuRp,y “OIG (p)

“JSSLOIUL JO SIRE JOYIVUT B FULIBIG SOIULISUINDIO JUSTIN
Ul SpBUl SURO] UIa}-IOYS OF Ajdde jou Jpeys UONOSS siqy Jo suoIsiaoHd ay ‘asnoxy (9)

“OUILLSjap ABLE JUSWUOSBURTA] SB JOqUIa|A 8 JO aJey ye 10 Joquisyy Aue
Aq pouRo] aq Avi UOI}ISS sty} IYI doURpsOIIE UI StoquIayA] at, Aq pauBo} jou JUNOUTY URO'T ot] Jo LONIOd
AUY ‘SeBRUAIIOg WO] SISqUis|A) 94) 0] BuIpsoose vID! ord paunUojop oq [PeYs Auedulog ay} 0} pus]
O} 199[9 ABLE JOqUIay) YOR YOY iGNOULY UBO'T otf Jo UOTOd ay, “yUNOULY URO'Y ay} Jo WOHOd sy yA
Jayjodo} ‘oules oY} JO SOHOU UAUM poWMsdeuRY) Oo} SuLOAysp Aq Su~rocaiog ay ui syedroused op joaa
ABUL SIQQUIOJA “SD/}ON UBO'] 94] JO a}eP oY} JO SABP DAY UIYH A “awdloiuy oF UOTjIaqq (q)

"AIBWIOISHO O48 SB SO}OU
ALossiutoid afoul 10 3u0 Aq paouapiaa oq [yeys Iq ‘UOTIAIDSIP afOs sq Ul JusuoseuRy] Aq pauttuuayap se
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9I

‘JUAWIDOIS y SIYL UT pourEyHOS
SUOHLSI}GO PUB SUOIUPUOD ‘sLLLIO] JayIO ayi Jo Aue jo saqmioyy oy Aq yoeoiqg y (ata)

‘WHSWaIIeY Si 10
WOHBIOIA Ut Aupdiuoy ay) jo Apadoid ay; vowed 0} Joquay ayy Aq iduoaye uy (iA)

“USUI
SY} JO uonepoIA ul Auedwog oy} wojy MeIpYIA, OF Loquuayay oy} Aq iduraye uy (A)

‘\usunasy
SHY] JO UOHBIOIA ur AuBdiiod ayy UF JsaraTUT sy Jo sequiayal oy) Aq sajsuen yo (AD

“apNCny peIOLU JO JOR
ue SULAOAUL SUULIO AuOjay-UOU B JO ‘OUNLIO AUOFA] B JO UONOIAUOD S.Joqluay, ayy, (1)

‘Aueduio3 oy) Jo voneinda Jo
Sjasse ‘suoresado ‘ssaursng oy} syoayye you “Auedwos ayy Jo saieyye 40 ssoursng
a4} O} oadsal YIM JOU 10 JatIjayas “laquiayy au fo yaed ayy uo Aysauoysip 40 pnely ay)

“‘AURGUIOD al} JO sjasse 40 suorwiedo
“ssoutsng 94} 0} Joadsar YIM Joquiayy ayi Aq JONpUOSSIUE sNOLIas JO [Up A, (i)

MOQUId|A] BO} apqeoijdde saouriswinosd SULMOPO] ay} UL AyUO
Ng “UOHIOSIP a]OS SH UT juoULAseUBIA, Aq ape aq FFEYS TONES su) YIM soUuRplosoR Wi AuRdiuO? oy] UT
ISOLOPUT S_AOQUIDTA] B WGSPSI O} UOISIOAP ol, “Wuauiaspunpyy Ag apopy ulaapay of uoij2a;7 (q)

“UOlpes SIy} ul papAosd sev (Aueduiod ayy Aq oseyoind *-a7) uondurapas 0} yoalqns aq jyeys Aueduio)
ay) UF Joquayy) Aue Jo sjssiaiu ayy ‘uondwapay of joafgny sysasajuz dijsiaguiapy 3)

 

“SISSY JO MONARY Sh

“SPAPOSLUAY] SIOGLUAJAY SY} AQ POUTIs JL SB SIAqUaTA) ayy JO Jyeyaq
HO PANOINS WOO BABY OF POWSApP aq |[LYS SIOWINASUE Pius ‘plesaloyE suOT"sUBI, ay) a}eUIUINSUIOD OF
Japio Ul [AJasn Jo Ayessaoou Suloap juauIaseURAY YIM (GUOWUTISse JO spsUMNSE SuIpnyour) sjuaumysu
JOYJO PUB SIUSLUMDOP “sjoRIUOD ‘sjUSlUOaIdY [fe puB AUB JaqUayAy ot JO DUBE dt) UT ayNd|Kxe oO} “}orOTH
ue YM pajdnos ‘Asuioye Jo Jamod & Jaquiay Yyoes Aq poquesd Aqoroy sp juauiaseuryy -oyerudoidde
pue a[qeuosval Ulsap []PYS lWaWaseueP se siaqmeyy oy] Tuowe (sjuquisarge ay} ul paiaoye jou
Ji) poreooyye og [feYs spustuesi8e uepuns puke uoreduos-uou uowWwAo|dwa “Bunpnsuos Jo uoieepisuca
ur Aed 0} sso1de Joseyomd ayy yey) syunoury ‘soquiayy soyjoue of 10 Aueduiod ayy of samo Udy}
JOqus|A) YONs YOM synowe sup sjenba se aalooos oF paplua aq pjnom soqway] B yey) SUOTILLAapIsUOD
ot} JO YORU OS SIAqQUIa|A, SY] SuoweL syeooljeas Aww juowiadeuvyy “uoiodoid aures oyi ul ssoquuay,j
ayy Ag auLt0g aq ‘JeIoUSs Ui “]]BYS d]BS ay} EM poyeisosse sjsoo ayy “~yoorDY O| aPOUNIY YILM aoURpsogsR
UI SdaqUIay ey) 0} SUONGLASID Suepinbiy ape (9) pue suoyesyqo sy jo ye parysyes (q) ‘Aueduiog
ay} UL sjsozozu diysuoquiatt ay} Of Jaseyoind ayy Aq pred aq oj aouid ayy uF yoIdun aud ox ye sjosse
SU JO ]]B ppos (2) Aurdwiod sup pry paareoai savy prnom Aayl Jey} syuNOME oY} OF |ENbe sjunouw AuRdutoD
OU] UL SSa1ajUl UayA TOF soquUisfAl fe 0} JuSUAEd ayy JOJ aprAosd |peYs sjuouIoaISe oy], “siuotseIBe Yyons
Ul Y}O] 19S suo} ay} UO Jeseyoind ay Oo} AuBdog oy) UL sysorajuT aATjQadsaI Hoty [fos 0} sasde Agooy
SHOQUIZIAL Hf] JO [je ‘Aueduiog ay} Jo sjosse ayy Jo Led jenueysgns v JO fv Jo ayes B Jo nai ur suoORsURY
JO Salas payejai Jo uoroEsuRT ap8uis B uy Aueduiod oy} UI sysozojUY diysioquuoUl oy] Jo pe AyyenuRisqns
to [fe Caoseyomd,, ay) se Apearjooyjoo upaisy 0} paztayar) suosiod 10 uosuad Aue 01 {Jos 0} syuowaasde
SIOUL 10 SUO OJ JayUs Oo} sesodoid jusutssvuRA] Jey) JuaAS oy Uy “SSR Suopy-atihgy,, a1]
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ul (11) fo Worjaipsiinf jusjadutoo Jo moo Aue ul Jeperaydiayur ue se (1) JON ay} paysodap sey yuousdeuey
adUO PISOfD pauloap oq FPeys Jaysues payediuajuce ayy pue Yjasn os suop pey toquiay, pautsopoy
ayy Hl SB poOsyjs atues 947 YUM “JAqUa}, poliioapayl ay} JO JyByaq UO pUue JO} tajsuBl, Jo siuaunsop
BY} ANIONS OF POYTUS aq [etfs WOWISTRURIAY *“S}USUINDOP ples dyNo9Xe JO Jopuaz ayy dose jou jPBUS
JIGUaAy polusapay oyi JY “Isonbai Aww juouiadeueyy se sajsuen jo syuauinsop Yyons ainoexo pur ous
Jy} Jdaooe PBYs JaquiajAl powsapay oy) pue JoqUIo|A] powaaposy ay] 01 O}ON at) sopuay yeys Auedusoy sty
SUISOJD AP TY “ANON uoNdutopay oy3 ui JUstUATEUBYy Aq paytoads soejd Jojo YoNs ev IO ad1yyo Jediound
s,Auedwon otf} Je In990 FPeYs SuisoyQ ‘Vaals st soyjON uoLdulapsy ayy alep tp Surmopjoy Aep moe
aul UeYy 1992] JOU ING DoHON, UONduIapay oy} Ur jIOLUSBeUBPy Ag paljioads ot) 941 ye PUB ayEpP B UO aq
j[VYSs oyec] Fuisoy uotjduepey sy “sa/voayacy Suisop,y puw aiog, 8usso7 uondwapay ap)

{QZ9] UONsES ULM sdueproooR ul Auedtulog
oti JO wORNTOssIp ays ued predaid aq Peys a}ON, ou Jo doUuRPRq BuIpULis}no ayy “out 0} SUN} ULOY puR
aw Aue ye apqudedaid aq jyeys ajon) uoHdiuapay oy] ‘alec, Fursoj uoydwapay syi saye shep 6 onp
aq [[EYs ON uoNdutapay oy) dopun iuouAed Isny ay] “AON UONduUOpsy oy) Jo WIA] Oy] JOAO aoURTEg
jediound ayy ozqsoue Ajpny o} siseq Apapenb ve uo sou ayy uO apeut oq jyeys jediouud puy ysasay jo
syuautded jaaa’y ‘sasodind xe} surooul [elopay JO} ISdI9jUI FRUOIIpPpe fo UOHBINCUUT ay] ploAw oF Alwssazqu
DBI ISSMO}L OU} Fe JSaIojUt Teaq {eYs aION uoHdwapay ayy yo yunowe yediouiud ayp wus) 3wad saigy v
F900 ayquded puv JaqiuayA] pautsapoy oy] 0} opgeded (,a}0N uondiuepay,, ayt) o10u Arosstuoad pamoasun
uv jo tos ayy ut pred aq |peys aog eseyoing ayy ‘aay aspyoing fo juauidogy (9)

‘juouiadEuRlA, AQ paliunajap oq jyeys sjasse s,Auediuo-) ayy Jo sanywa Jayseu
HEZ AL “eC Suisopy uondiuepsy 01 UsArd Ss] soHON UONduapay oy) oJep ay} Jaye aqWsyAy pawaspsy
OY) O1 apeUl SUOTINGIYSIP Auv (11) Ssof “Z"9] WOLDS A soUBPIODIR UF SIOQLOJA] ati OF SUOLINGIASIP epeur
(q) pue suorediyqo pue siqap syt Jo [eB paysnes (5) ‘UaAIs sem soHON UONdtuUApay oui syep ap UO sonyea
JOYA IB} TOU Je syasse si jo Pe ppos (qf) “U9AIS sea ao1jONY UONdWAapay o4y ayep o4y UO paywUHa)
(Cy) Auedwiod om pey parisoas savy pynom Joquiayy] pouisepay oy yeyT yUNOWE ayy (1) yenbs []eYs Isaz8NE
§ JOQUIsA, pollioapey B Jo (edldg aseyoing,. sy) solid aseyaind oyj ‘aeLy aspyaung (p)

“(Dp ydeisesed yim sourpioose ul poysijqeise
oq yeYs seq Sulsojy uondwapay ay ‘(Csr Buisojg uonduiapay,, ayi) asopo preys uondwaper
oY] YOIYM UO ajBp oy} Afloads ]jeys oononN UoNduspay ayy ‘uorsi9ap sp yo (90HON uondurapayy,,
ayl) SOHOU UHM Clequiay, poulsapay,. ay) fequiay] yons puas yyeys juowaseury “uonoag
STU} YM SOURPIOOOB UL JOQUID|A, B Ludaped 0] Sapioap JuoutaseuRyAl {] “aovOAN’ uOUdiuapay (>)

“BAOQE [JOJ JOS SOSME]O OU] UT Psquiosap sjov oy} jo Auv Ul padedua (aaquiayyl B Oy) Joquiayal SuIUBIssE
ay) “JustuUsisse [ered @ JO Osed OY) WI {IT JO SAOGE YLIOJ Jos sosnels oy} WL paqiiosap sjov ay) fo Aue ur
padesus sey OOUDISSE JO 1OSsa90Ns ‘aalossuBN AUB JI UOIJDAS sity] Jopun uoTduuapal Oo} Joafqns aq osye jyeys
(SMOjSUBL] PAYUL9 & Suipnpoul) 1aquisjy U JO SadLBissy Jo siossaoaNs ‘saaleysuwI) [Je Jo sJsouoTUE auL,

"SOIWHIJE J9y]O JO saLBipisqns
sH jo Aue pue Auedwiod ayy apnpour yeys .Auediuos,, way oy} “(x) pue (x1) “(1) sosnepo Jo sasodind io,

‘{UIHE IO 1OPIVIUOD ‘aakoy dius ue SE
Auvdwior oY] 07 9d1A1aS WOLp JaqUayA] oy] Jo uoLesedas Bb ur BuNpnsas jusAa Auy {x)

“Aud tio? ai) pue
Jaquuoyy ol} UaaMjoq JustUdelse JuoWAOTdiO Aue JO JaqUIsj ayy Aq YoRaiq ¥ (x1)

“BAOGE (Q)TS UOHIAS Ul [fed s JuSUIOTRUEYY
oy juensind Aurduiog syi oj; jendes jeuouIppe oinqimuos 0} ane) yw
Case 1:17-cv-04327-LLS-RWL Document 30 Filed 06/21/17 Page 23 of 30

$1

“MBE Iquarfdde Jo Suluwaut oy) UIYPAL 191998 OpRs] B PolapisuOD SI UOTFEULFOJUL YONS JOU JO JOyAyM
‘Auvdtuog ay} Jo Josoas open vB sO oF Areyauidosd aq O71 posopisuoo oq ABUL ywE UONRBULOJUE Jay AUR JO
MOU-MOUY Sales ‘sainpasoid puv sarod ‘uonvunojut Aryyes ‘eyep yeroueuly ‘uoKPUdoyut 10 sueyd sales 10
Bunoywur ‘suey ssoursng ‘elep yoseases “yep soiid io ys09 ‘syudwoNbas sowoysno ‘srauioysna io siotjddas
Of Suyejai to jo uoNvULOsuE ‘surexsoid Jeynduroo ‘snyemdde ‘uoyeunopur jo suonepidwuos ‘sudisop
‘Blep ‘sassoooid s,Auedwog ay} jo Aue ‘noyenuny oy “Surpnyour “Audios ayy jo aprsino umouy
Ayesouies jou Auedwog oyi jo sireye pur ssauisng ay) 0} Pupepo eyep 10 UOTIeULOJUT [Je uve FeYs
sHOHPUMOJUL [BIUAPYUOD,, Ulla} al} “Guauisaisy sip jo sasodind oy} 10.4 ‘swoznafacy (q)

WORN A
fo aynyeys ‘Mey ajqeoydde Aue topun Aueduiod ay} 0} papioye suoyoojoid puke saipauies ‘syydi oul
0} UOHIPpe UW ole UloIay pojuRId suooajoid pue siysis ayy Josuny so} sordos ou Surdeay ‘uoyeunojuy
JENLOpLUdD SunNsapjai Jo SUsUIBIUOS S}UDUMDOp puR BLP ‘sajou ‘aouapuodsa.0d {je puw Aue Auedwos ou)
0} uinjer Ayduroid Fpeys ioquiayy Aue “sonbor s,Auvduog ayy uods ‘uoeuosuy [eUapIyUOD 01 prea.
us Auedutoz ayy jo sorsyod jye yp Ajdwos [peys pure uonRuOUY feNUsplyuOs Aue yoojord 0] suonnessid
pur sdais Amwssasau []e oyv} [LM Joquisy] Ye “]PMpoos sy pur ssoursng s,Aueduroy ayy Jo jonpuoo
JAYSSADONS PUB OAIPOALJS dy} SPajye APUBOLUTIS [JIM PUB ;BLIOPWUl ‘ajqenjea st uOyEULOJUT pEnUSPYUCD
[re Jey saspaymouyoe Aqaisy soquisjy you “ME, Jo uorsjndwos sapun uoneunoyuy penuapyucD
Aue Suisojasip aiojaq Aueduiod oy Apjou o} soasse soyyny aaquuisy yoey ‘wonepFe 10 amIEIs
“MET “LAOS JO Jopio apquordde Aq pasmmbar aq Avur se so Aueduros 24} soy sadiasos pazuoyyne Surusopiad
fo asimoo ay} wu Aressaoau aq Avat se jdaoxe ‘uoqRuuojuy fenusplyuoD Aue sonsosyrym asodind
AUB JOF O80 JO “ApS 4O UOSIAd AUB O} [ROAST OSIMAOYIO JO aTBLTULASSIP ‘asojosIp ‘odmarp ‘oyworunwuro9
‘ysiqnd “Apooipul uo Apoaup Jaya “rouueul Aue ub JO aur) Aue Je ‘JOU ]{EM TH WeUy soeide LaquIOy, yoy
‘(sOjdq psulfep se) UORRUIOJUT FENUApIyUOD s,AuBdu0D oy) OF aINqEIUOD 10 oyesaUaT “dopaaap “IeACosIp
‘o} posodxe aq Agu yr Auedwion ayy yim diysuoiyejos sy Jo anita Ag yey] saspaymouyse pur soziuBooo:
(J9qUIDJA B ST juoUIadvURY, JO JoquidUI Yons jou JO Joylaym QuaMeSeuR] Jo Jaquiaw YoRa sapnyjout
‘Qoiaag siyy Jo sasodind 40} ‘W119) YOM) JOqQUIDJA, yoRT ‘aunsoposicy uo uoIdLApsay 2)

 

“AVPEUSPEFUOT) — EEL

“MIO. S194) PoAllop syOid 10 stOSUL Sy)
10 SasnyUsa Hapusdapul YONs oO] 10 UL SYS Aue sABY [feYs SraquusP oy) Jo Aue sou AueduioD sy} zeynou
pue ‘(Goarayy Wed Aue Jo} ¢ aponiy Uf paquiosap rojoeleYyo ou} Jo ssoulsng ‘o} paw jou Ing “Burpnypour
‘sJOYIO YIM JO Auapusdapul uoNditosap puv sinyeu Aue JO samjuan ssoursng Ul adesua Avu juauraseuvyyl
pur jaquisy,y Auv ‘uisisy papiaoid asimsoyjo se idooxy ‘Sie Tepupy Saiiadw@oy = 5-z]

 

 

SHUWETISAG PeTSSAdS
cl SpPhy

"yuatladeuryal JO
JOQIUOUE YON OPNIUE OSTR [JEYS UONBIO]fEd! aly ‘asBWIIIOg WoO1g B sessossod justweseuepy fo soquiew v
J] “SOSRIUSOISY Old BAIV]SI SY] YPM souLpIO.OR UT sIaqWay,, ay) SuoluK paywooyyeal aq pRYys JoquD;y
pauloapay & JO JSOIOU] ISeyUDdIag BY] “IWavalyf Ss, daqgiuayy patuaapay fo uoyno0q~ (8)

‘ydeadered siy) Aq
payejdurajuoo se SUISOfS oY] 1S}0D 07 payitused aq jou [feYys JaqUIayY patuisopay BING ad11g aseYysiNg ay)
JO HUNOLUE ayy JSaPWOD OF JYSU S_jaqwiayA] pottioapoy vw soipnfaid you ppeys ydesdered spy ur payeyduroyuos
sv uondiuispa: e jo Susojo ayy, “puewop uodn ssquiayy pauisapay oy Aq uMmeipyum aq Ae
(Usodap Yons Jaye SION ay} Japun spel sjuouised Aue pue) owes oy] yey) suOHONASUE JopuN “uOTMANSU
Suryueg to Aueduios ysnzy ‘Auedtuos 9731) poysiquysa Aue ye juNOoOR MO1OSo Fuliwaq jsazayui-uou PB
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|S] Woes YM
SOUBPIOINV UL PAPUDLUE S} JUSWIAAITY siy] UaYyM “JUSWIAISY sty} O} s}uspusWE ALY (8)

CBUIMOT[OF OU] Oq [PEYS LaquisyA) yoRs Jo Jpeyaq uo atnoaxa Av juauaSeuvy
HOLM SIUSUUNDOP otf} SUOLUE ‘UOKUHUL INOYEAL “WlowaaSy sii Jo suoisiaoid oy} 40 payeys aaoquuls1sy
se Audio; oy1 Jo sasodind oy oBaeyosip oj soquuspy agi Aq paply Jo 0} WOMs ‘paspaymouyor
‘poyndaxod “poudis oq 0} paimbar oi Aowloye Yyons Jo uONAIsip ayy uF Yor siuaMNsOp [je pue
Aue a]1J PUR O} IRoms “adpayMOUyoE ‘ayNdONa “UIs O} pedIs pus aoufd ‘oUNeU SpE UE }SasoqUL UB BLM poydnos
“AOWIONG [HJME, PUR sh] sy se joWaseuT jutodde puke juasuod soop Aqaiay pur jjeys Ht “JuauRDasy
Sif] jo uonnoaxe ay uodn ‘yey, soaise Aqaiay Jaquiay seq “ABO Y JO WMeG z-¢]

 

‘JUOLUPUSWIY JO UOBOLIPOUW Yons 0} BULL Ui PasUoS Aqalaty popoayye Apostaape sraqurayA] otp
SSBO YOUS Ul SsayUN —~ SONY sity puauue (9) 10 ‘Aueduiod oy} 01 yoodsal yy Aqqeiy jeuoIppe feuossod
Aue sndul 0} Joquiayy Aue asnes (q) SstoLINgLnsip o} aqua; Aue Jo 14311 ay asRosDap Ajayeuoriodoidsip
(8) lUoWsoISy SI} OF JUatUpUDdUe JO UOTeOLIpour Aue |jeys aaa ou ul ‘Inq ‘seBeyusoiog
HjOlg ou Jo Apiofeus @ Suipjoy staquiajA, pue jusiuadeURYA, JO Osu DANLIAL oY} YA SUA OF DUTT WO
pure out] AUB Je papuatue Jo paylpous oq ABul jHOUIaaISy sity so stuID) oy, “SPUSMIPTSUTY Egy

 

JAAS YY GUNBISIO OF sp Ssdipusiy
S| Spuay

 

popiugy Ajjpetionuwsiry
PL Opy

SME] SAIPINIOS 378}5 ajqvaidde puw yoy sayuM.as
otf Jopun uoleAsigol wioly UoyduaXe UR JO Aressaoauun si UoNBasIsos Jey) JUSUABEURYA 01 A10jORFsHES
yasunoo jo uorndo uv fo yUoWa}E]s uOHPsysIso1 squoydde uv pue juowiasisy si) YM souRpioooe
ul }daoxa poystdtuocor aq jou Aeue pue pojiyser si Cuedwog oy) ul sysaisy jo ue jo voursedsip
Jayyo Jo uORBsoyodsY ‘adpajd “sojsuey ‘ares ayy “Palsissy Sissy jo Saysie7y = zy

 

‘SMBL SOLPINISS 47218
apqeoidde puv ‘(joy saljimoas,, ayy) papuatue se “ccg] JO JOY SeHtaNdesg [eiaps.] sy) sapun suoNduaNa
0} JueNsind ponsst uaaq aay Ing a1ejs Auv Jo UOIssHUOD sduByORX| pue saitnoag oy YPM posoisiBou
US3Q JOU OARY JUOWIAAIGY sty Aq paouaplas sisal oy] “FUSHSRIG WORST ON cy

 

 

STONE] LOuIiG puke SsniISSS
EL opsty’

‘SOMOS YONS JO
pied ay} uo Ado10as fo uOnEsITqo Aue Oo} joalgns ‘(Cmbur [ngeiwo pue onp Suryetu
Joye) areMe st ALied SUIAI9990 OY} SB Ij OS “JOU PUB ddinos ONS Jo uorssassod oy)
ui AYAyMep pue Aptedoid sem uoreuuayul yous yey) papiaoid ‘Auedwios ayy vey)
foyjO ddiNOS B WO siseq [eMEpIzuOS-lou B UO Ayed B oO} a[quyleae sourosaq yo (ut)

“yaed s_Aqind Sulajasel oy] uo ADaIDaS Jo HONeST}qo Aue 0} joafqns jou
si pur Ayed SulAlooat ay) JO Uoissassod oy} ur Aypnyaxey pue Ajiodoad Apeosye si y (18)

"JUSLUBDIDY SHY) JO SULID} OY] JO YORaIG BJO
aquonbasuos B se UBY] astMJoyjo UeWOP a1Fqnd ay) OUT sIaqUa JO UF Apeaufe St Jy ()
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Oe

ayy JO SUOHRSIGO Joyo Jo siqep Aue Butked pue Auedwog ayy oF pamo sjunouwe SUNSaFOo “stasse
Auvduiog sunepinby jo sosedind ayy roy sraquuayy oui Jo yyousg op 1OJ Pal[Sl|qeyse Jsni] BO} PoNqHIsIp
oq Aww (9)7°9] UOHsag O1 JENSind siaquiayy ayy OF apeU aq asimsoyO pjnom Jip suONNgiysip
ay) fo uoyiod Aue io ye “‘owaseury,y Jo uonaiosip ayy uy JSHiL SUNeDINDFT = to]

 

"SUOSEAI fLSO] JO} JO paynquysip
S1OSSE DY] JO SNYBA OY} SAJoSaId 0} JOPIO UE o[quIISap Jo Asessogau on se sUOTIOLSe: puR sucIpuod
ajqvuosear yons Oo} joofqns aq |eYys puke juouaseuey Aq pamunsiop se onjea joyeuE Ry yw ponyea
aq yfeys Avodoid Aueduiog yons py ‘(2)z-9] WoNeg Jo suaistAoid oy) YIM aouRproosR mi Ayladoud
YONS JO aes oy} JO spoadoid oy} ur areys OF spysts dayjoodsaa sayy 0} uoNJodoid ul Ayladoid yons jo
S[OUM OY] UL SISOIOIUL PAPLAIPUN LOY} UE ISSA O} SB OS LONILIOD UL SPUBUD} SB SadINqLASEp oy) 02 padaauod
pur patieysues oq yeys Ayedoid yous ‘pupy ur Awedoid Aueduiod jo uoynqiysip e ayew o1 ajqensop
JO Aressooou Si U1 JY} SoUTO}OpP JoMOAeUR YY) JUSAD aU UT “PUTS UP SSgKSIG —_¢-9]

 

£9
UONIAG YIM SoUBpPsOIIB UL SIOQUIOP OY) SuoWweE suns Burma! Aue JO UOHNQUISIP ayy (9)

‘any AQ papraoid yuayxa ayy OF pure AWIOLId Jo Japio
BY] Ul “SIOUPS4D BB OYM SIIQUISFAl O} SUIPHOUL ‘sUOnRSIPGO JeyjO pue sjqop s,Auvduioy oy) (oj saazosau
S|QeUOSBaI JO JUSUIYsI|qeysa ay) ‘oyetidoidde aioym puv) Jo Juaualyes Jo yuauhed ayy, (q)

“DULL AQRUOSBOU A[]BIOIOWILEOD
B URGIM Sjosse yseo-tlou s_Auediiog oui Jo uomsodsip Joyo Jo apes Aprapio ayy {B)

SOATOAUE F]RYs AuRdiuo’ ayi Jo UONpossIp pues da-Turpurm
ay “Spy sly ub paprAcid asimiayjo se idaoxy “Op -SIPA A Tey, StSnAgIMsIg] «= z-9]

 

‘AUBGUOD ay] aATOssIp oF poumbas aq qeys
SB SSUN]} PUP S}OR JOY}O YORS dUOp 3q 0} 9SNO JO Op pUuk Os Op 0} a[quIISOp JO Aressosau HW ayeut Aueduio>
Uf} JO SOLAR IY] YONA UT SayeIS JOYJO YONS UL PUB JIRIS du} UL SSuLZ Yans oye |peys quoUTaseuLRpy
‘OS Op OF s}uase aJoU! Jo auo JUlodde Av 1o AuRdwtoy ay Jo LOHNyOssEp puv dn-Bupurm ay 190 apisoud
Heys quoulsdeuBA, “paajossip aq jjeys AuBdwoD ay puke dn-punom aq jpeys Auedwod ou] Jo sueqye
ay} “Tp YONG UL Psquosap juaaa uv uody “SaMpasory WoApossiqy puw dy-siiparg 19}

 

 

AVEC.) Sify JO WOTNOSsiG, PUR Cy] -saipii Ay
9] Spy

‘“Jeqwuayy ainaysgns yons Aq
SPR Udaq SALLY O}] Psllleap aq FRYS UOHSS sit] Ul YLOJ jas AysoyjNE jo JuRsT omy puw ‘uoTINTsqns Yons
yoayjo O] Agessodou JusuMLysul Aue apy pue odpaymouyoe ‘oynoaxa of juoWeseuRyA, Furygqeusa jo osodnd
d[OS SY} JO} JUOWUTISsE Yons fo ATSAljsp ayy aAtAins RYys Adusoye Jo Jomod ayy “aquiayy pasaqns v se
AuvduioD ay} 01 uorssiupe joj juuiaseuRyy Aq poaosdde useq sey soudisse ay) araym jeyy idaoxe “sosaqul
SH Jo UOHod Aue Jo fe Jo raquiay, B Ag JUOUIUTIsse ue jo AIaAlap oy} OAIAINS [eYS PUR ‘UAT jo qe
to} yous uy Awioype se “juawisseury jo amyeusis ayy yim juowMasul up Furnoexa suaquiojy ayy JO jy JO
SoWeU aul Susy Aq Jo onjeusis ajiuttsoey v Aq Jaquiayy B 10} jutUETEUBA) Aq pasioseNxa aq ABU! ‘Equa,
8 JO UONNpossip do uonEpInby “Aoydnayueg “Aousajosur ‘Kyordeour ‘Rap oy] OAiAANS [EYSs pur syqRooAa.
Si “Jsouajuy ue YAN paydnos Sausoye jo Jamod yeioads v si uoMoag sity ul YOY Jos AtoyINE Jo yWEIT oT,

TS] WORDS
Aq poyqiyosd Jou oe yey} oje1oy) sjuaUIpuadie Aue pue uospsinf toyjo Aue Jo smep aq) JO JOY aut
oj juensind Aurdutos at Jo pouinbas aq Aeut yoryas 1uauiNysUL Jeyjo Aue poe Jopeys oty (q)
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ayy AUB SUIPURISYIEMJOU) soquiay] Auw ysurede 40 roy Apjorays jou pur Suruwow sey sp 0} surprosoe Aydurs
PANYSUOS aq ][BYS pUSWaAIay styl fo uolstAoid Auoaq “TSIPSATSUOR JO Sy yO 9 Z |

 

“Aqoiay} payoayje 3q JOU [feys “Tinos Yons Aq pyBAUT pjay SEIT
OI OF 9SOU] Val} JoyIO saoUBIsUUNDAIO 40 SuOsiad 0] HOISLAOId Yons Jo UOTeoHdde oy Jo “WoWOdITy sity
JO Japuivilios ayy ‘uoLorpsiin[ juatadwios Jo jinos B Aq piyBAUL ppoy oq [Peys “souRJsumono 10 uOsiad KuB
0} UoIstAosd Yons Jo uoyPordde oly to Wusuaardy sry yo uoistaoid Aue yy “RWYIQBISASS =]

‘OTRIG OY} UNYLM AJNVUE pouojiad aq
O} JE ITY PUB a}E}S ay] JO S}uapises aie sanied Ajo asoym sjuauAeJe OF pardde se ‘ayes o4} Jo SMe]
SHSAWOP 4] YAY AWLUIOJUOD UW} Pansysuos aq [feys juawessy su “MEP SUTSAC 97]

 

“Aurdurog ay 07 Avtodoid
Jeyjo JO AduOU! AUB WIN}o1 JO suONNgLHuOD Aue oyRU o] Gossod JoyjO Io JOULpeIs Yyons Aue Oo} UONRSTQo
10 AIP OU DALY FPEYS Stoquiayy ay Joy oy Aq pastnbor se idooxs pue “Guawaaidy siyy jo Areiaiyauaq
Ayred pity) @ aq jfeys uossed sat0 JO JOWPaid yons ou puv) AuRduioy ayy Jo JOWPeo AUB LOIRE
JHOUYAS Surpnpout ‘uossad soyso Aue uodn pyausq Aue Supuepuco se penaysto0s 9q jOU T]eYS “MET ayqeaudde
Aq paytuiiod juajxe isayny ay} Oo} ‘puke oyo1oy sonsed ayy puke Aueduiod ayy qyousg 04 Ajajos papuayuy
dB LlowWsaAITY Sig} JO SUuOISEAOI ay) “ZL | MONIES Bunny incu A “STSUSE AWE pag]

 

‘poptaoid asimJoujo ursioy Ajssaidxna
se jdaoxe ‘suBisse pue siossacons ‘siloy “saauepuososdas jeBay aanjoedsaa Nay) pur ojosoy sonred ayy uodn
SUIPUIG oq [feYs Joolay suoistAoid pue sua} ay) [fe pue pUaUdaIBy sip “SIOSSSTITIG zy |

“SSQIPPE MOU S}I BuyL]s JUoWATeUR YW fo SIOQUUDUL pu sLOqWIaY JdYI0 a} Jo YE 0} Saou Bupa
AG SUOTPITUNUTUOS LoYIO JO sJajjo ‘spuBUap ‘soonoU sunny [fe sof sso4ppe sy adsupyo ABUT JUaUAseURIA]
JO Jaquatt to Ioquisy) AUY “Juoulsaidy sig] Jo aded oimjeusis ay} uo ouleU 8_uosied YONs Yoo yyesUAq
SSOIppe oY} 12 lawWeseuR] Jo isquisut Yows Oo} possauppe aq [peys juoUAdeUBpy o1 sUOHVOTUNUIUIOD JOl}o
JO SiQffO “SpuBivap “SaTON “JuaUodvUR|] Jo o1v9 ui AuediuoD oy} 0) possaappe oq feys Aueduioa ary 0}
SUOHBOIUNUIUTOS JAL]}O 10 SJOJJO “SPUBLUEP “SADON “WUOLUIaaI8e UONdosQns § JaquUay, Yons ur ‘apquordde
jl JO JUaOIISy Si] Jo aded amnjeUsis oy) UO oUIBU s.IOqUIEPY at Yyeauag ssouppe Hp Je Joqursyy
OY} OF PEssaippe aq ]{BYS JoquiajAy BO] SUOHVOUNUMUOD JayIO 40 S1a]JO ‘spUBWOP ‘SAIT]ON ‘oossauppe
St] JO SSaIppe ay] Je jdiaoel Jo ayep ay] uo aanoayja oq jyeYys uOHPoIUMUAIOS JOq}0 J0 Jap10 “purwap
“aoHOU AU "TIRUE 'S"() parties (predasd o8eysocd) ssepo ssf Jo (xzpat se yons) so1Ases AJDAL[OP PYBLUIIAO
paziudooal “‘saLinos Aq payilusuEs] oq jjeys pur uM ul oq [eys juauaady Sit} O} JueNsind USAIS aq
Oo} payiutied 40 pannbai suonRoUNUOD Jayjo 10 siafjo ‘spuRwep ‘saarjou [[Y “Sdonopl = ELI

SUOISTAOIG [elated
Zi Spony

“Auedwos ay] 0} LOYop yey Jo JUNO Aue aynquUuos
0} pawsiyqo oq Jou PeYs Jaquisy~ Yons “jnosoy JedeD siy ur Woyap eB sey doquid]A BJF ‘UOTNPOSSIp
JO Sep otf} OF Buyunoose snoiroid ysvp ayy jo ayep ayy wos Aueduiod oy Jo sowianoe ayy jo opew
aq [[eys Suyunosse peuy @ “Auedwog ayy so dn-Surpuia ayy jo ued sy “FUPUAGSSY fog == cg]

 

‘JUSWIAAITY
SIG} OF JuRNsInd siaquisy dYi 0} poyNgiysip useq sABY osIMJAYO plnom Aueduo> oyy AQ ysNay yons
O} Paliqlisip JuNoWe ot se suorModosd sures ayy Ul ad}snay SuNepinbry oy) Jo UCHAOSIpP ay] WE oty 07
SUI) WO] SHOQUayA) 24} 0] poINgiAsip aq |feYs Isiy Yons AUB Jo sjasse ayy “sajysn.44 Suyepinby sv suosisd
S1OU UO ou JuIodde [yeys jusUIadeuLyA, “Auvdiwes oy) ILM WOHsOUUIOD UL IO jo yno Buisne Auedwog
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cl
ci

ay} Suoww woy soicyo oytoods ayy pue “YioA MaN JO ayes “AyuNO YO, MON jo piney suaidnus
SY} UE AO JOLBSIC] WISYINOS stp} 40j PINOT WUYSIC] SABIG PHU oyi UI Apuo yYsNoOIq oq [eYys AueduioT ayy
JO JUANIBIIB YY SIY] 0} payear JO JO Tho Bulsuw Surpossosd so uoyow “yins Aue yeyi ooade ApPeuontpuooun pus
Apqeaoaaut Aqosay] JuaUIsaldy siyy 0} sored oy, pue Aueduiog ay], ‘WORRPOSSST Sie Sig] BLT

 

‘ujaroy popiaoid Appeotpioads se jdaoxa “aqua soyloue jo juade ayy raquiayy
Aue ainpsuos 01 panysuos aq [[RYs Ulaloy poueyios BuNpoN ‘SPSS TON SSquaA 4]

 

“ABP SSOUisng Sumoyjo} Apapipawiun ay) jun papusixa
3q [YS sep 40 poliad yons uatp ‘(poiwsoy st soyyo yedround s,Aueduiog at) yor U1 oyeIs ay] JO aIRIS
SY UOUNIIDAOS ferapey “S79, eu) Aq peziusooai Aepyoy ev 410 Kepung ‘Aepanes ‘a7) Ap ssauisng-uou eB
UO SINddO (S}USUINIOP JO ALBAI[OP SY} JO Bd/JOU JO SULATS ayy SuUpNpoUy) wayR] aq IsNUE UOTE Ue YOM UO
Aep [Buly oy] JoaouayM ‘aouajuas Surpacaid oy] SuipueysyMJON “SAP Jepuayeo uvaLt qyeys (spusuNs0p 40
AJOALOP 9} JO SoNOU JO BULAIS otf) Suipnyour) uaye] 9g Jsnu YOIIe Ue YOIyM uly SAep Jo JAqUINU BO}
jauioals y SI) Ul SosuUdiayas ,.“SXep ssauisng,, O} apeuL st souosayol ssaidxa aiaym ydooxg qp

CW). 19 Dv Oss

“3'2) Jano, asus Jaddn uv to [eiauinu ueuol B YT poynuapt Aypeoiddy st pue ydesSused v 0} spuodsazos
justusay sin Jo .ssnepo,, y  “(.(8),, ydessered “3'2) soyoy aseo samo @ Aq poyuap! Ayeoiddy st
puk UOHIEg B 0} spuodsai0s JustusaISY sity jo ydeivied, y “(9° | uonoas,, 8:2) yeuoap eB sopnyjour
ey) JAGWINE B IM poluapl Ajpeodd) st pue soy ue oj spuodsouoa juawuedlsy siyj fo .uoTIOeS,, V
‘(LE AO Y,, “S'a) equine ym payyuapr Ayeord4y si juouaalsy sip jo ,opoy,, Wy (3)

‘JODY SUOTSIAOIG ayy JO UOLONAySsuOD Aue Ul paroust aq

O} O48 pue APUO SdUId19ZO4 JO DOUDLUSAUIOD JO} PaLasu ose sh SoPIaGnNs pue sap ‘sBuprayy wD
“ISTALIOYIO

Saqe|S UOISTAOId dy} ssayUN MONBUUT] NOY Supnypoui,, uvsue jjeys peoysul ing sayipour yw yor

SUOTSIAOIA BU} UWE] 0} palopisucs aq jou [[eYys Ulolay ,.SUIPH[OUT,, PIOM ayy Jo asn ouL (3)

‘ESIODA DOA PUB jeInyd at}
Ul PIsh UdYM SSUIIBALL SWIES OY] SATY IBINSUIS stp] UL WWOWUAVITy STUY UL pauLjop StLUsy [Py (Pp)

‘()r' OT HOLDAS Jo suOTTRHU ayy
0} Joofgns [us st ALed Be Suraq opdsop ing ‘g'/ | Uoseg UL sainpasoid UOLNJOSeL aindsip ayy Jo sasodind
oy Wows y styy op Aped @ sig] apy YIM soUlepiosoe UT AUedwioz ayy 0} payUipe Usaq jou sey OYM
JOSsadINS B “UOITBSHE JO Aum Ag “JUOWODISY sity JO sui] ssardNa ol} JapuN sey H UeY syYysi IoywosS
Aue uosiod 124} OAs you jjeys Aued & si JOsssoons B RY} JOB, ayy “JUatUAaISY si4y UL powiof asimuatyo
JO po]NSKXa SLY] LOSSEdONS YORS JOU IO Jaipoya “Bulosaioy ayy Jo Au Oy JOssaoons Aue puR jUsWaTEUEY)
JO Joquiattt “Ioqiudj,| B SuUIpHpoUt “JUaWIa9IS YY S1Yyy OF AloJeUSIS B sUBOLU . AVIEd,, WO] ot, (9)

“AWIuS [esa]
8 JOU JO JoyjoyM WoHEziuedio Joyjo Aue Jo Ayioyne yusuUIaAOS ‘uOTEZIuVdIO payesodiosuTUN ‘Ysn4y Ae]
HOWIUOS “sy Asoyneys “AuRduiod yoojs uiof ‘uonelsosse ‘dryssouped Ayyiqey payuuy ‘Aueduroo Arpiqey
paul ‘ampuaa jurof ‘diysiauyed ‘uoneiod.ioa ‘qenpiaipul ue Oo} siajar uostod., Wusoy ot (q)

“VOL OTLYSHOS Yons annbar SOB} PUL JXa}WOS
OU} JOAQIAYM “JOSIOU} Jap JO aUlUTUAy ‘ouFMoseL Sly apnjour jeus sumouold B
ful i rH

UoUlsadYy siy} Oo} Apdde jjeys UoLoNAysuOS Jo sajna peuoutppe
SUMOPOF OY, “(Aued Bugyeip ayy isuiese ponysucod AyoLs aq 0} WOUTSMsy ue Sumber mez jo
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WOd] /OO}Jo UL SB “PUDLIASISe JOYIO YORE “JUOLAOITY sii jo suOIsTAOId oy] WoL saanjedap 410 suondaaxs
O} “HOHAIOSIP 3fOs SH Ul “‘JOataY ayep ay} Surmoppoy Auedtuo-) ay} Oo} pannupe aq o] slaquiayy o10uI 40 auO
YUM OF] Palais sjUaWisside J9Y{O UL SdIBE tayyBoIOY UIT] OL 9UN} LuOAy ABtU puke *(,JUdHIADIZe JOYIO,, UB
“YORS) SHOQUIDJAL BIOL 10 QUO YIM SSUTLIM Jayy}O 10 Sioy}9) Wi aarde Aeui ‘Auedwio3 oy} fo Jyeyaq Uo Jo/spuer
JTBYOQ UMO SH Ud VUaUATeURYA] “foosdy a1Up ay] JO se Jey] adpojMouyoe ojosay saued ay} ‘juoWaAITYy
SIU} UL pourEyUOS AreIUOD OY] OF BUIQIAUL SuUIpUBISIPIAION ‘oouUEpad01d ay) puL josuOS Jeys (AuBdiUOD
at} YM OJUL paloyua savy Av JOquIaTA, B yRU JuoUIDoIse UOHdiosqns Aue pur) yusWady sin
‘(Auediuoy ait ub sysasayn Jo souRnssi ay} JoJ UMpuRIOWoH JuoMosRd ayealid Aue Surpnyour) siaquisyjy]
ay] pue “saya Jo juade to sadoydwa Aue 10 Juaulasdeueys “Aueduiog oy} Woamiog suOTBoIURUUOD [RIO
10 USHEIM Joyo Aue pue (Aurdwiod dy} YPM OE paroplla DABY ABU Jaquuayy B yey) jUaUIASIse UONdLosgns
AUB pub) jUDWsaIdY Sly, UdsaMjeqg JoHJUCD AuB Jo juaas oy UT “AuNdiuoD ay} oO} Joadsol YIM UAT
SUOWUL S}UDLUAIIGE FLO JO UBM JO/puR SuipuRysiospun Jouid Auv sapasiadns pue stoquisj, oy} Suoure
SUIPURISIOPUN BINUS SY] SdINNISUOS CY Meloy UOTIUUCD WE AUBdUIOD aU} YHA OW paroiua aay Avot
JOquigyAl B VY JUstseIse UONdOsqns Aue puv) justo Yy siy, “BUIPTRSiSpiyy sry ci]

‘WRejop AuB jo JOAteA\ B se ayeasdo jyeys Aejap so ounyrey yons
Ou pure ‘JpNejap UL OS aq O} aNUTOD ABUT say}O Yons oun Aue ye juoUiadeUEpYy jo Jaquiows Aue Jo saquiayy
Auw ‘Auvdutos oy Aq Joaisyy asjosaxa oy] JuaAeld jyeys aavy Aeut qt pYyS Aue osiosaxa 0} jusuedeULA]
jo Jaquiotu Aue 10 Iaquiayy Auv ‘Audios oy} jo aed ayy uo Aepop Jo ainprey ON ‘ooueuLiojrad 10 JUsuEAed
Yous sidasoe H alt} OY] ye YORaiG YONS JO SMOLLY JUSUISBRUR]A] FO Joquioul Aue Jo Jaquiay Aue ‘Kuedwor
SY] JOU JO JOWOyM “quottiaadY Sly] JO Youolg AUB Jo JOAIBM B aq 0} Palusop aq [LYS Youorg yons Auw saye
juowadeuR| JO Jaquioul Aue Jo Jequispy Aur “Cuvdurog ay Aq soueuuojiod 10 yuouided yo souridasoe
OU PUB “ateu 10 puly Aue Jo YoReIg Lay}O AUB JO ISAIRA B ag 0} PSlUugap aq [fBYS JUSLBAIBY sty Jo Yovarq
Aue Jo jusuiadeuryy Jo saquiaui Aue 40 soquioyy Aue “Aueduo9 ayy Aq Joarem ON FSATEAL ZE'L]

‘apes Aq Jo Ayinbs ur ‘Mel je SULSIXS J31JVOIDY JO MOU JO LopUTdlay UaATd Apowlal 1oy}O AIDAd
O} UOHIppe Ul og YEYS pue saijEpNUNs oq [pels yea yng “payiuuuad 10 paplacid me] Aq Jo ulosay Apatuial
JaY}O AUB JO SAISN[OX 3g 0} PopUdyur SI JUStUasEUBY JO JoquoUE AUB JO JaquePy Aue ‘Aueduros oy uodn
pelayuos Apoulot ou ‘juauiaaisy sty] Jo suoistaoid ssoidxo Aue op poolgns ‘“SSPSWT pi. 7

"SISOO OIQUIDAOIAL LOUJO FFE O} UOITPpe ul “oyRarsyy
Bulpsesoid juatexojue 10 juadde Aue ul pue YMAIOY} UOT|SULIOD UL paTINOUl sjueUesingsIp pur
sagy s,Adwioye s]qeuosval pu “sisoo jinod sy Ayred Sulpwacid-uou otf] WO] 19A0081 OF papa aq yeys
Ayied yons “quotas y sry} Aue UJLAA UOT}ISUUIOS Ul IO Japun Sufsue aindsip tv ya uoNauUOS UT juatUspnt
B SUIRIGO JUSWAsBUEY Jo Joquiow Aue 10 Joquiojy Aue ‘Auvduioy oy jy ‘Sea ST ASWIONY O1°f]

“ALIBI FOA
JOAIEM Sty] soya Ayred yore “Alem STU} JO SuOTIeaT]duEE ey] poloprsuoe sey pup spuRIsiopun Aled
Yaey “Hioursaidy Sly} 0} BURP! fo Jo ino Sursiiy Apooupus so Apoonp uoyesiyy Aue oj yoodsor yA Aint
Aq et} B oO] oavy ABt Ayed yons 1YySlI Aue saarea Ajpeuoylpucoun pue Ajqeooaas Aqaray Ayed yons yea
A1OJIISY} PUR ‘SAaNSsi IPNIYJIP puw poyeoyduios oajoaul of Ayayl] St JUOWUAAIISy sty} Ispun ase ABUL you
ASIOAO.HUOD AUB JBY] Sadise pur seBpaymouyoe Aped gow “np AQ Tey JO SATAY ag 11

 

"JUS aq YS SId1]}OU OI OF ssouppe Jusnbasans Aue
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ayy surpeur Aq tadoid Aypeday pasapisuoo st puv opel oq Avia uoljoR Yyors Aue Oo} piedai yi Ojoloy soyued
dt] JO AUB UO ssad0id Jo ad1AJag “TUOUINSIe 10 wTelO “UOI}OaTgO JE]TUs AUB IO }USTUOAUOOUT $1 Wino]
ay) jeyl ‘radoidun st OnudA SU EY ‘S}INOS YONs Jo UOHDIpsuNT ayy oy yoalgns jou st UE yeYR UOHSalgo JO
Wwireyo AUB aAIvAs A]yeuOTpUCSUN pue Ajqeocaau Aqalay PuR SLINGS Yons JO Wino, pue anuaa ‘uooIpsinl
jeuosiod ot) 0} JuUasUOD Aqalay JUSWODIDY si} oO} sored oy] pure Auedurog oy) ‘Mey Aq oyqisstiiod
JUDIXS ISIN] 3t OF “Bulposdoid 40 woioe 4yns yous Suen Ajred oy) Aq pouluuayap aq pPeys Furosas0y
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Pe

ftuaumsop siyy fo aded ixeu uo uidag saanjousis]}

“SUIPUTG aq feys
{a[fUNso¥y FO preuu-d BIA “a'/) A][BolUOOaja poy usuey are Jey proWaaISy siy) oF saINTeUaIS yUoTUNNSUT
SLURS SE] PUB SUO S}NFSUOD []eYS OM Jo [fe Iq “yeUIsSLIO UB og ][BYS YoryM Jo Yyows ‘spredisjunos
Ul paynoexs oq ABU JuoWaaIsy si] ‘“WORSMUSTETL suena pus semaAGy 64741

 

“syUsua}eIs Yons Suryeur Ajred out Jo farjaq pue aspaymouy
di] JO JSaq ay} 01 AuRdUIOD oY} 40 JHOLIOAISY sip oO} Burureqiod sayew Aue jo sryeis ay) Jo juawueywis
Haplim e@ Apduosd ysitemy oF ‘au oF au] Wod AjqeuosBas ‘oyaJoy Ayed JoyjouR Jo Isanbar vaya amp
uodn ‘saaise ojaioy Ajied yore “iapunaiay aouRuiopied Jo snqels uouind-uaYy aup sansed pany 07 ysyqeise
O} OW} OF SULT Woy Alessogeu 3} PULy ABU JUStUASEUBP] JO SJOqUuIOUT ay) pue sIequiayy ayy ‘Auedwo>
Oyl wy TusZUsooay “yOooy sua] SY] YIM JUd|sIsUCoUL JOU a7e se puL judaaIBY sIy} Jo asodind pue
ay} at) NO Aureos 0} fNJasn Jo pasinbos aq ABU se SSuULy) puw sjoe soyNy YoNs Op pue syusUMAsUt ayy
YONS JOAT]OP PUuw ayNoaNa JoYRaloy [EYs Ojojay saiued oly Jo yey “SOSTRHESY QUAY pry

 

‘WUAWAAIBY SIq] Jo SUOISLAOIG OY] FUIPURISYTIMIOU JWWoMaITe
Jayjo yons oy Aued @ st oYM JoqUa|, ay} 0} O90dSA1 YM UWOAOS T[eYys Joqus|;] ev MM JOUIseITe
Jayjo Ue UL pawzeyucS sompredap to suondaoxa yous Aue yey) ease ojoroy sonied ayy ~ojoiayy sonsed
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JOP LEP G

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“PaNGaXxes 3g O} [WoWlOaIGY Sit] pasnezo oaey Ojosay saied out “AOU MAHA, SSANLIM NI

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